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                                     Subject Activity Log


                                      Station /
Date/Time          Activity                       Agent Name                    Comments
                                      Facility
06/22/2018
                    Arrest              N/A
   1808
06/22/2018
                   Book In              MCS
   2013
06/22/2018
                Welfare Check           MCS                    every person is well
   2100
06/22/2018
                Welfare Check           MCS                    everyone is well
   2216
06/23/2018
                Welfare Check           MCS
   0807
06/23/2018
                Welfare Check           MCS
   0953
06/23/2018
                Welfare Check           MCS
   1034
06/23/2018
                Welfare Check           MCS
   1203
06/23/2018
             Served meal(Accepted)      MCS                    Cold Meal
   1203
06/23/2018
                Welfare Check           MCS
   1204
06/23/2018
                Welfare Check           MCS
   1246
06/23/2018
                Welfare Check           MCS
   1419
06/23/2018
                   In Transit           MCS
   2104
06/23/2018
                   Received             RGV
   2120
06/23/2018
                Welfare Check           RGV
   2156
06/23/2018
             Served meal(Accepted)      RGV                    Cold Meal
   2156
06/23/2018
                Welfare Check           RGV
   2246
06/23/2018
                Welfare Check           RGV
   2259
06/23/2018
                Welfare Check           RGV
   2322
06/24/2018
                Welfare Check           RGV
   0007



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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/24/2018
                Welfare Check          RGV
   0119
06/24/2018
                Welfare Check          RGV
   0225
06/24/2018
                Welfare Check          RGV
   0309
06/24/2018
                Welfare Check          RGV
   0400
06/24/2018
                Welfare Check          RGV
   0513
06/24/2018
                Welfare Check          RGV
   0719
06/24/2018
               Shower Provided         RGV
   0734
06/24/2018
                Welfare Check          RGV
   0744
06/24/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0744
06/24/2018
                Welfare Check          RGV
   0805
06/24/2018
                Welfare Check          RGV
   0901
06/24/2018
                Welfare Check          RGV
   1221
06/24/2018
                Welfare Check          RGV
   1358
06/24/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1358
06/24/2018
                Welfare Check          RGV
   1413
06/24/2018
                Welfare Check          RGV
   1510
06/24/2018
                Welfare Check          RGV
   1604
06/24/2018
                Welfare Check          RGV
   1605
06/24/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1605
06/24/2018
                Welfare Check          RGV
   1701
06/24/2018
                Welfare Check          RGV
   1815


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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/24/2018
                   Welfare Check              RGV
   1909
06/24/2018
             Snacks, Milk, Juice Provided     RGV
   2016
06/24/2018
                   Welfare Check              RGV
   2016
06/24/2018
                   Welfare Check              RGV
   2109
06/24/2018
                   Welfare Check              RGV
   2203
06/24/2018
                   Welfare Check              RGV
   2229
06/24/2018
               Served meal(Accepted)          RGV                    Cold Meal - snacks
   2229
06/24/2018
                   Welfare Check              RGV
   2309
06/25/2018
                   Welfare Check              RGV
   0018
06/25/2018
                   Welfare Check              RGV
   0101
06/25/2018
                   Welfare Check              RGV
   0122
06/25/2018
                   Welfare Check              RGV
   0205
06/25/2018
                   Welfare Check              RGV
   0304
06/25/2018
                   Welfare Check              RGV
   0308
06/25/2018
                   Welfare Check              RGV
   0407
06/25/2018
                   Welfare Check              RGV
   0511
06/25/2018
                   Welfare Check              RGV
   0648
06/25/2018
                   Welfare Check              RGV
   0649
06/25/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0649
06/25/2018
                 UAC Video Shown              RGV
   0650
06/25/2018
                   Welfare Check              RGV
   0707


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                                         Station /
Date/Time            Activity                        Agent Name                    Comments
                                         Facility
06/25/2018
                  Welfare Check            RGV
   0744
06/25/2018
              Served meal(Accepted)        RGV                    Hot Meal
   0744
06/25/2018
                  Welfare Check            RGV
   0830
06/25/2018
                  Welfare Check            RGV
   1021
06/25/2018
                  Welfare Check            RGV
   1318
06/25/2018
              Served meal(Accepted)        RGV                    Hot Meal
   1318
06/25/2018
                  Welfare Check            RGV
   1400
06/25/2018
                  Welfare Check            RGV
   1434
06/25/2018
                  Welfare Check            RGV
   1507
06/25/2018
                  Welfare Check            RGV
   1609
06/25/2018
              Served meal(Accepted)        RGV                    Cold Meal
   1609
06/25/2018
                  Welfare Check            RGV
   1612
06/25/2018
              Served meal(Accepted)        RGV                    Cold Meal
   1612
06/25/2018
                  Welfare Check            RGV
   1726
06/25/2018
                  Welfare Check            RGV
   1828
06/25/2018
                  Welfare Check            RGV
   1909
06/25/2018
             Rejoined With Family Unit     RGV                    reunited with family units for 15 minutes.
   1913
06/25/2018
                  Welfare Check            RGV
   2001
06/25/2018
               Processing Complete         RGV
   2032
06/25/2018
                  Welfare Check            RGV
   2111
06/25/2018
                  Welfare Check            RGV
   2143


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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/25/2018
             Snacks, Milk, Juice Provided     RGV
   2201
06/25/2018
                   Welfare Check              RGV
   2201
06/25/2018
                   Welfare Check              RGV
   2243
06/25/2018
                   Welfare Check              RGV
   2314
06/26/2018
                   Welfare Check              RGV
   0005
06/26/2018
                   Welfare Check              RGV
   0120
06/26/2018
                   Welfare Check              RGV
   0201
06/26/2018
                   Welfare Check              RGV
   0213
06/26/2018
                   Welfare Check              RGV
   0306
06/26/2018
                   Welfare Check              RGV
   0401
06/26/2018
                   Welfare Check              RGV
   0505
06/26/2018
                   Welfare Check              RGV
   0601
06/26/2018
                   Welfare Check              RGV
   0602
06/26/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0602
06/26/2018
                 UAC Video Shown              RGV
   0603
06/26/2018
                   Welfare Check              RGV
   0717
06/26/2018
                  Shower Provided             RGV
   0718
06/26/2018
                   Perm Book Out              RGV
   1017




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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/15/2018
                        Arrest                 N/A
   2000
06/15/2018
                       Book In                 MCS
   2134
06/15/2018
                    Welfare Check              MCS
   2141
06/16/2018
                      In Transit               MCS
   0257
06/16/2018
                      Received                 RGV
   0334
06/16/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0335                Provided
06/16/2018
             Medical Screening Completed       RGV
   0335
06/16/2018                                                            subjects will be offered a shower at
                        Other                  RGV
   0335                                                               0700hrs
06/16/2018
                    Welfare Check              RGV
   0335
06/16/2018
             Snacks, Milk, Juice Provided      RGV
   0335
06/16/2018
                    Welfare Check              RGV
   0403
06/16/2018
                    Welfare Check              RGV
   0523
06/16/2018
                    Welfare Check              RGV
   0744
06/16/2018
                Served meal(Accepted)          RGV                    Cold Meal - fed
   0744
06/16/2018
                    Welfare Check              RGV
   0748
06/16/2018
                Served meal(Accepted)          RGV                    Hot Meal - fed
   0748
06/16/2018
                    Welfare Check              RGV
   0749
06/16/2018
                    Welfare Check              RGV
   0914
06/16/2018
                    Welfare Check              RGV
   1153
06/16/2018
                    Welfare Check              RGV
   1249



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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal - fed
   1249
06/16/2018
                Welfare Check          RGV
   1253
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   1253
06/16/2018
                Welfare Check          RGV
   1319
06/16/2018
                Welfare Check          RGV
   1404
06/16/2018
                Welfare Check          RGV
   1458
06/16/2018
                Welfare Check          RGV
   1557
06/16/2018
                Welfare Check          RGV
   1658
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1658
06/16/2018
                Welfare Check          RGV
   1753
06/16/2018
                Welfare Check          RGV
   1904
06/16/2018
                Welfare Check          RGV
   2052
06/16/2018
                Welfare Check          RGV
   2247
06/17/2018
                Welfare Check          RGV
   0028
06/17/2018
                Welfare Check          RGV
   0100
06/17/2018
                Welfare Check          RGV
   0200
06/17/2018
                Welfare Check          RGV
   0302
06/17/2018
                Welfare Check          RGV
   0400
06/17/2018
                Welfare Check          RGV
   0405
06/17/2018
                Welfare Check          RGV
   0500
06/17/2018
                Welfare Check          RGV
   0559


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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/17/2018
              Processing Complete      RGV
   0609
06/17/2018
                Welfare Check          RGV
   0654
06/17/2018
                Welfare Check          RGV
   0700
06/17/2018
                Welfare Check          RGV
   0736
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0736
06/17/2018
                Welfare Check          RGV
   0822
06/17/2018
                Welfare Check          RGV
   0903
06/17/2018
                Welfare Check          RGV
   1004
06/17/2018
                Welfare Check          RGV
   1105
06/17/2018
                Welfare Check          RGV
   1206
06/17/2018
                Welfare Check          RGV
   1208
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1208
06/17/2018
                Welfare Check          RGV
   1305
06/17/2018
                Welfare Check          RGV
   1402
06/17/2018
                Welfare Check          RGV
   1504
06/17/2018
                Welfare Check          RGV
   1602
06/17/2018
                Welfare Check          RGV
   1702
06/17/2018
                Welfare Check          RGV
   1704
06/17/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1704
06/17/2018
                Welfare Check          RGV
   1922
06/17/2018
                Welfare Check          RGV
   2000


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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/17/2018
                   Welfare Check              RGV
   2120
06/17/2018
             Snacks, Milk, Juice Provided     RGV
   2228
06/17/2018
                   Welfare Check              RGV
   2228
06/17/2018
                   Welfare Check              RGV
   2356
06/18/2018
                   Welfare Check              RGV
   0059
06/18/2018
                   Welfare Check              RGV
   0150
06/18/2018
                   Welfare Check              RGV
   0210
06/18/2018
                   Welfare Check              RGV
   0308
06/18/2018
                   Welfare Check              RGV
   0402
06/18/2018
                   Welfare Check              RGV
   0505
06/18/2018
                   Welfare Check              RGV
   0551
06/18/2018
                   Welfare Check              RGV
   0700
06/18/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0701
06/18/2018
                   Welfare Check              RGV
   0800
06/18/2018
                   Welfare Check              RGV
   0900
06/18/2018
                   Welfare Check              RGV
   1002
06/18/2018
                   Welfare Check              RGV
   1100
06/18/2018
                   Welfare Check              RGV
   1200
06/18/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1223
06/18/2018
                   Welfare Check              RGV
   1300
06/18/2018
                     REROUTE                  RGV
   1301


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                                 Station /
Date/Time         Activity                   Agent Name             Comments
                                 Facility
06/18/2018
               Perm Book Out       RGV
   1345




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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/15/2018
                        Arrest                 N/A
   2000
06/15/2018
                       Book In                 MCS
   2135
06/15/2018
                    Welfare Check              MCS
   2141
06/16/2018
                      In Transit               MCS
   0257
06/16/2018
                      Received                 RGV
   0334
06/16/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0335                Provided
06/16/2018
             Medical Screening Completed       RGV
   0335
06/16/2018                                                            subjects will be offered a shower at
                        Other                  RGV
   0335                                                               0700hrs
06/16/2018
                    Welfare Check              RGV
   0335
06/16/2018
             Snacks, Milk, Juice Provided      RGV
   0335
06/16/2018
                    Welfare Check              RGV
   0403
06/16/2018
                    Welfare Check              RGV
   0523
06/16/2018
                    Welfare Check              RGV
   0742
06/16/2018
                 UAC Video Shown               RGV                    know what to expect
   0742
06/16/2018
                Served meal(Accepted)          RGV                    Hot Meal - fed
   0742
06/16/2018
                    Welfare Check              RGV
   0748
06/16/2018
                Served meal(Accepted)          RGV                    Hot Meal - fed
   0748
06/16/2018
                    Welfare Check              RGV
   0749
06/16/2018
                    Welfare Check              RGV
   0914
06/16/2018
                    Welfare Check              RGV
   1153



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                                         Station /
Date/Time            Activity                        Agent Name                    Comments
                                         Facility
06/16/2018
                  Welfare Check            RGV
   1245
06/16/2018
                UAC Video Shown            RGV                    know what to expect
   1245
06/16/2018
              Served meal(Accepted)        RGV                    Hot Meal - fed
   1245
06/16/2018
                  Welfare Check            RGV
   1253
06/16/2018
              Served meal(Accepted)        RGV                    Hot Meal - fed
   1253
06/16/2018
                  Welfare Check            RGV
   1319
06/16/2018
                  Welfare Check            RGV
   1404
06/16/2018
                  Welfare Check            RGV
   1458
06/16/2018
                  Welfare Check            RGV
   1557
06/16/2018
                  Welfare Check            RGV
   1658
06/16/2018
              Served meal(Accepted)        RGV                    Cold Meal
   1658
06/16/2018
                  Welfare Check            RGV
   1753
06/16/2018
             Rejoined With Family Unit     RGV
   1800
06/16/2018
                  Welfare Check            RGV
   1904
06/16/2018
                  Welfare Check            RGV
   2052
06/16/2018
                  Welfare Check            RGV
   2247
06/17/2018
                  Welfare Check            RGV
   0028
06/17/2018
                  Welfare Check            RGV
   0100
06/17/2018
                  Welfare Check            RGV
   0200
06/17/2018
                  Welfare Check            RGV
   0302
06/17/2018
                  Welfare Check            RGV
   0400


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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/17/2018
                Welfare Check          RGV
   0405
06/17/2018
                Welfare Check          RGV
   0500
06/17/2018
                Welfare Check          RGV
   0559
06/17/2018
              Processing Complete      RGV
   0609
06/17/2018
                Welfare Check          RGV
   0654
06/17/2018
                Welfare Check          RGV
   0700
06/17/2018
                Welfare Check          RGV
   0736
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0736
06/17/2018
                Welfare Check          RGV
   0822
06/17/2018
                Welfare Check          RGV
   0903
06/17/2018
                Welfare Check          RGV
   1004
06/17/2018
                Welfare Check          RGV
   1105
06/17/2018
                Welfare Check          RGV
   1206
06/17/2018
                Welfare Check          RGV
   1208
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1208
06/17/2018
                Welfare Check          RGV
   1305
06/17/2018
                Welfare Check          RGV
   1402
06/17/2018
                Welfare Check          RGV
   1504
06/17/2018
                Welfare Check          RGV
   1602
06/17/2018
                Welfare Check          RGV
   1702
06/17/2018
                Welfare Check          RGV
   1704


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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/17/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1704
06/17/2018
                   Welfare Check              RGV
   1922
06/17/2018
                   Welfare Check              RGV
   2000
06/17/2018
                   Welfare Check              RGV
   2120
06/17/2018
             Snacks, Milk, Juice Provided     RGV
   2228
06/17/2018
                   Welfare Check              RGV
   2228
06/17/2018
                   Welfare Check              RGV
   2356
06/18/2018
                   Welfare Check              RGV
   0059
06/18/2018
                   Welfare Check              RGV
   0150
06/18/2018
                   Welfare Check              RGV
   0210
06/18/2018
                   Welfare Check              RGV
   0308
06/18/2018
                   Welfare Check              RGV
   0402
06/18/2018
                   Welfare Check              RGV
   0505
06/18/2018
                   Welfare Check              RGV
   0551
06/18/2018
                   Welfare Check              RGV
   0700
06/18/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0701
06/18/2018
                   Welfare Check              RGV
   0800
06/18/2018
              Bodily Cleansing Product        RGV
   0822
06/18/2018
               Dental Hygiene Product         RGV
   0822
06/18/2018
               Clean Clothing Provided        RGV
   0822
06/18/2018
                  Shower Provided             RGV
   0822


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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/18/2018
                Welfare Check          RGV
   0900
06/18/2018
                Welfare Check          RGV
   1002
06/18/2018
                Welfare Check          RGV
   1100
06/18/2018
                Welfare Check          RGV
   1200
06/18/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1223
06/18/2018
                Welfare Check          RGV
   1300
06/18/2018
                  REROUTE              RGV
   1301
06/18/2018
                Perm Book Out          RGV
   1345




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Subject Activity Log


BRISEYDA M
                                     Gender:                F
                                     DOB:                           (22 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   06/15/2018 1730
Book In Date/Time:  06/15/2018 2352
Book Out Date/Time: 06/19/2018 1053

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                      Expresses Fear of Return?




BRISEYDA M                                                                   Printed:      8/2/18
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                   Comments
                                             Facility
06/15/2018
                        Arrest                 N/A
   1730
06/15/2018
                       Book In                 MCS
   1833
06/15/2018
                    Welfare Check              MCS
   1921
06/15/2018
                    Welfare Check              MCS
   1955
06/15/2018
                    Welfare Check              MCS
   2014
06/15/2018
             Snacks, Milk, Juice Provided      MCS
   2025
06/15/2018
                    Welfare Check              MCS
   2025
06/15/2018
                    Welfare Check              MCS
   2112
06/15/2018
                    Welfare Check              MCS
   2141
06/15/2018
                      In Transit               MCS
   2314
06/15/2018
                      Received                 RGV
   2352
06/15/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   2353                Provided
06/15/2018
             Medical Screening Completed       RGV
   2353
06/15/2018                                                            subjects will be offered a shower at
                        Other                  RGV
   2353                                                               0700hrs
06/15/2018
                    Welfare Check              RGV
   2353
06/16/2018
                    Welfare Check              RGV
   0207
06/16/2018
                    Welfare Check              RGV
   0302
06/16/2018
                    Welfare Check              RGV
   0403
06/16/2018
                    Welfare Check              RGV
   0523
06/16/2018
                    Welfare Check              RGV
   0744



BRISEYDA M                                                                       Printed:      8/2/18
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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal - fed
   0744
06/16/2018
                Welfare Check          RGV
   0748
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   0748
06/16/2018
                Welfare Check          RGV
   0749
06/16/2018
                Welfare Check          RGV
   0914
06/16/2018
                Welfare Check          RGV
   1153
06/16/2018
                Welfare Check          RGV
   1249
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal - fed
   1249
06/16/2018
                Welfare Check          RGV
   1253
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   1253
06/16/2018
                Welfare Check          RGV
   1319
06/16/2018
                Welfare Check          RGV
   1404
06/16/2018
                Welfare Check          RGV
   1458
06/16/2018
                Welfare Check          RGV
   1557
06/16/2018
                Welfare Check          RGV
   1658
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1658
06/16/2018
                Welfare Check          RGV
   1753
06/16/2018
                Welfare Check          RGV
   1904
06/16/2018
                Welfare Check          RGV
   2052
06/16/2018
                Welfare Check          RGV
   2247
06/17/2018
                Welfare Check          RGV
   0028


BRISEYDA M                                                                Printed:      8/2/18
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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/17/2018
                Welfare Check          RGV
   0100
06/17/2018
                Welfare Check          RGV
   0200
06/17/2018
                Welfare Check          RGV
   0302
06/17/2018
                Welfare Check          RGV
   0400
06/17/2018
                Welfare Check          RGV
   0405
06/17/2018
                Welfare Check          RGV
   0500
06/17/2018
                Welfare Check          RGV
   0559
06/17/2018
                Welfare Check          RGV
   0654
06/17/2018
                Welfare Check          RGV
   0700
06/17/2018
                Welfare Check          RGV
   0736
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0736
06/17/2018
                Welfare Check          RGV
   0822
06/17/2018
                Welfare Check          RGV
   0903
06/17/2018
                Welfare Check          RGV
   1004
06/17/2018
                Welfare Check          RGV
   1105
06/17/2018
                Welfare Check          RGV
   1206
06/17/2018
                Welfare Check          RGV
   1208
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1208
06/17/2018
                Welfare Check          RGV
   1305
06/17/2018
                Welfare Check          RGV
   1402
06/17/2018
                Welfare Check          RGV
   1504


BRISEYDA M                                                               Printed:      8/2/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/17/2018
                   Welfare Check              RGV
   1602
06/17/2018
                Processing Complete           RGV
   1657
06/17/2018
                   Welfare Check              RGV
   1702
06/17/2018
                   Welfare Check              RGV
   1704
06/17/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1704
06/17/2018
                   Welfare Check              RGV
   1922
06/17/2018
                   Welfare Check              RGV
   2000
06/17/2018
                   Welfare Check              RGV
   2120
06/17/2018
             Snacks, Milk, Juice Provided     RGV
   2228
06/17/2018
                   Welfare Check              RGV
   2228
06/17/2018
                   Welfare Check              RGV
   2356
06/18/2018
                   Welfare Check              RGV
   0059
06/18/2018
                   Welfare Check              RGV
   0150
06/18/2018
                   Welfare Check              RGV
   0210
06/18/2018
                   Welfare Check              RGV
   0308
06/18/2018
                   Welfare Check              RGV
   0402
06/18/2018
                   Welfare Check              RGV
   0505
06/18/2018
                   Welfare Check              RGV
   0551
06/18/2018
                   Welfare Check              RGV
   0700
06/18/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0701
06/18/2018
                   Welfare Check              RGV
   0800


BRISEYDA M                                                                       Printed:      8/2/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/18/2018
                   Welfare Check              RGV
   0900
06/18/2018
                   Welfare Check              RGV
   1002
06/18/2018
                   Welfare Check              RGV
   1100
06/18/2018
                   Welfare Check              RGV
   1200
06/18/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1223
06/18/2018
                   Welfare Check              RGV
   1300
06/18/2018
                   Welfare Check              RGV
   1403
06/18/2018
                   Welfare Check              RGV
   1530
06/18/2018
                   Welfare Check              RGV
   1600
06/18/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/18/2018
                   Welfare Check              RGV
   1700
06/18/2018
                   Welfare Check              RGV
   1800
06/18/2018
                   Welfare Check              RGV
   1904
06/18/2018
             Snacks, Milk, Juice Provided     RGV
   2004
06/18/2018
                   Welfare Check              RGV
   2004
06/18/2018
                   Welfare Check              RGV
   2105
06/18/2018
                   Welfare Check              RGV
   2207
06/18/2018
                   Welfare Check              RGV
   2309
06/19/2018
                   Welfare Check              RGV
   0007
06/19/2018
                   Welfare Check              RGV
   0124
06/19/2018
                   Welfare Check              RGV
   0216


BRISEYDA M                                                                       Printed:      8/2/18
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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/19/2018
                Welfare Check          RGV
   0340
06/19/2018
                Welfare Check          RGV
   0425
06/19/2018
                Welfare Check          RGV
   0508
06/19/2018
                Welfare Check          RGV
   0609
06/19/2018
                Welfare Check          RGV
   0700
06/19/2018
                Welfare Check          RGV
   0714
06/19/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0714
06/19/2018
                Welfare Check          RGV
   0800
06/19/2018
               Shower Provided         RGV
   0804
06/19/2018
                Perm Book Out          RGV
   1053




BRISEYDA M                                                               Printed:      8/2/18
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Subject Activity Log


DANIELLA A
                                     Gender:                F
                                     DOB:                           (2 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s): BRISEYDA                       M




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   06/15/2018 1730
Book In Date/Time:  06/15/2018 2352
Book Out Date/Time: 06/19/2018 1053

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                      Expresses Fear of Return?




DANIELLA A                                                                   Printed:      8/2/18
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                   Comments
                                             Facility
06/15/2018
                        Arrest                 N/A
   1730
06/15/2018
                       Book In                 MCS
   1834
06/15/2018
                    Welfare Check              MCS
   1921
06/15/2018
                    Welfare Check              MCS
   1955
06/15/2018
                    Welfare Check              MCS
   2014
06/15/2018
             Snacks, Milk, Juice Provided      MCS
   2025
06/15/2018
                    Welfare Check              MCS
   2025
06/15/2018
                    Welfare Check              MCS
   2112
06/15/2018
                    Welfare Check              MCS
   2141
06/15/2018
                      In Transit               MCS
   2314
06/15/2018
                      Received                 RGV
   2352
06/15/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   2353                Provided
06/15/2018
             Medical Screening Completed       RGV
   2353
06/15/2018                                                            subjects will be offered a shower at
                        Other                  RGV
   2353                                                               0700hrs
06/15/2018
                    Welfare Check              RGV
   2353
06/16/2018
                    Welfare Check              RGV
   0207
06/16/2018
                    Welfare Check              RGV
   0302
06/16/2018
                    Welfare Check              RGV
   0403
06/16/2018
                    Welfare Check              RGV
   0523
06/16/2018
                    Welfare Check              RGV
   0742



DANIELLA A                                                                       Printed:      8/2/18
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                                         Station /
Date/Time            Activity                        Agent Name                    Comments
                                         Facility
06/16/2018
                UAC Video Shown            RGV                    know what to expect
   0742
06/16/2018
              Served meal(Accepted)        RGV                    Hot Meal - fed
   0742
06/16/2018
                  Welfare Check            RGV
   0748
06/16/2018
              Served meal(Accepted)        RGV                    Hot Meal - fed
   0748
06/16/2018
                  Welfare Check            RGV
   0749
06/16/2018
                  Welfare Check            RGV
   0914
06/16/2018
                  Welfare Check            RGV
   1153
06/16/2018
                  Welfare Check            RGV
   1245
06/16/2018
                UAC Video Shown            RGV                    know what to expect
   1245
06/16/2018
              Served meal(Accepted)        RGV                    Hot Meal - fed
   1245
06/16/2018
                  Welfare Check            RGV
   1253
06/16/2018
              Served meal(Accepted)        RGV                    Hot Meal - fed
   1253
06/16/2018
                  Welfare Check            RGV
   1319
06/16/2018
                  Welfare Check            RGV
   1404
06/16/2018
                  Welfare Check            RGV
   1458
06/16/2018
                  Welfare Check            RGV
   1557
06/16/2018
                  Welfare Check            RGV
   1658
06/16/2018
              Served meal(Accepted)        RGV                    Cold Meal
   1658
06/16/2018
                  Welfare Check            RGV
   1753
06/16/2018
             Rejoined With Family Unit     RGV
   1800
06/16/2018
                  Welfare Check            RGV
   1904


DANIELLA A                                                                    Printed:      8/2/18
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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/16/2018
                Welfare Check          RGV
   2052
06/16/2018
                Welfare Check          RGV
   2247
06/17/2018
                Welfare Check          RGV
   0028
06/17/2018
                Welfare Check          RGV
   0100
06/17/2018
                Welfare Check          RGV
   0200
06/17/2018
                Welfare Check          RGV
   0302
06/17/2018
                Welfare Check          RGV
   0400
06/17/2018
                Welfare Check          RGV
   0405
06/17/2018
                Welfare Check          RGV
   0500
06/17/2018
                Welfare Check          RGV
   0559
06/17/2018
                Welfare Check          RGV
   0654
06/17/2018
                Welfare Check          RGV
   0700
06/17/2018
                Welfare Check          RGV
   0736
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0736
06/17/2018
                Welfare Check          RGV
   0822
06/17/2018
                Welfare Check          RGV
   0903
06/17/2018
                Welfare Check          RGV
   1004
06/17/2018
                Welfare Check          RGV
   1105
06/17/2018
                Welfare Check          RGV
   1206
06/17/2018
                Welfare Check          RGV
   1208
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1208


DANIELLA A                                                               Printed:      8/2/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/17/2018
                   Welfare Check              RGV
   1305
06/17/2018
              Bodily Cleansing Product        RGV
   1401
06/17/2018
               Dental Hygiene Product         RGV
   1401
06/17/2018
               Clean Clothing Provided        RGV
   1401
06/17/2018
                  Shower Provided             RGV
   1401
06/17/2018
                   Welfare Check              RGV
   1402
06/17/2018
                   Welfare Check              RGV
   1504
06/17/2018
                   Welfare Check              RGV
   1602
06/17/2018
                Processing Complete           RGV
   1657
06/17/2018
                   Welfare Check              RGV
   1702
06/17/2018
                   Welfare Check              RGV
   1704
06/17/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1704
06/17/2018
                   Welfare Check              RGV
   1922
06/17/2018
                   Welfare Check              RGV
   2000
06/17/2018
                   Welfare Check              RGV
   2120
06/17/2018
             Snacks, Milk, Juice Provided     RGV
   2228
06/17/2018
                   Welfare Check              RGV
   2228
06/17/2018
                   Welfare Check              RGV
   2356
06/18/2018
                   Welfare Check              RGV
   0059
06/18/2018
                   Welfare Check              RGV
   0150
06/18/2018
                   Welfare Check              RGV
   0210


DANIELLA A                                                                       Printed:      8/2/18
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                                         Station /
Date/Time            Activity                        Agent Name                    Comments
                                         Facility
06/18/2018
                   Welfare Check           RGV
   0308
06/18/2018
                   Welfare Check           RGV
   0402
06/18/2018
                   Welfare Check           RGV
   0505
06/18/2018
                   Welfare Check           RGV
   0551
06/18/2018
                   Welfare Check           RGV
   0700
06/18/2018
               Served meal(Accepted)       RGV                    Hot Meal
   0701
06/18/2018
                   Welfare Check           RGV
   0800
06/18/2018
                   Welfare Check           RGV
   0900
06/18/2018
                   Welfare Check           RGV
   1002
06/18/2018
                   Welfare Check           RGV
   1100
06/18/2018
                   Welfare Check           RGV
   1200
06/18/2018
               Served meal(Accepted)       RGV                    Hot Meal
   1223
06/18/2018
                   Welfare Check           RGV
   1300
06/18/2018
                   Welfare Check           RGV
   1403
06/18/2018
                   Welfare Check           RGV
   1530
06/18/2018
                   Welfare Check           RGV
   1600
06/18/2018
               Served meal(Accepted)       RGV                    Cold Meal
   1600
06/18/2018
                   Welfare Check           RGV
   1700
06/18/2018
                   Welfare Check           RGV
   1800
06/18/2018
             Rejoined With Family Unit     RGV
   1800
06/18/2018
             Rejoined With Family Unit     RGV                    Family visit.
   1801


DANIELLA A                                                                    Printed:      8/2/18
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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/18/2018
               Separated from Family          RGV                    Cell - Operationally infeasible.
   1845
06/18/2018
                   Welfare Check              RGV
   1904
06/18/2018
             Snacks, Milk, Juice Provided     RGV
   2004
06/18/2018
                   Welfare Check              RGV
   2004
06/18/2018
                   Welfare Check              RGV
   2105
06/18/2018
                   Welfare Check              RGV
   2207
06/18/2018
                   Welfare Check              RGV
   2309
06/19/2018
                   Welfare Check              RGV
   0007
06/19/2018
                   Welfare Check              RGV
   0124
06/19/2018
                   Welfare Check              RGV
   0216
06/19/2018
                   Welfare Check              RGV
   0340
06/19/2018
                   Welfare Check              RGV
   0425
06/19/2018
                   Welfare Check              RGV
   0508
06/19/2018
                   Welfare Check              RGV
   0609
06/19/2018
                   Welfare Check              RGV
   0700
06/19/2018
                   Welfare Check              RGV
   0714
06/19/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0714
06/19/2018
                   Welfare Check              RGV
   0800
06/19/2018
                   Perm Book Out              RGV
   1053




DANIELLA A                                                                      Printed:      8/2/18
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                   Comments
                                             Facility
06/23/2018
                        Arrest                 N/A
   2030
06/23/2018
                       Book In                 MCS
   2349
06/24/2018   Sleeping Cot/Mat and Blanket
                                               MCS
   0159                Provided
06/24/2018
             Snacks, Milk, Juice Provided      MCS
   0159
06/24/2018
                    Welfare Check              MCS
   0159
06/24/2018
             Medical Screening Completed       MCS
   0159
06/24/2018
                      In Transit               MCS
   0352
06/24/2018
                      Received                 RGV
   0410
06/24/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0412                Provided
06/24/2018
             Medical Screening Completed       RGV
   0412
06/24/2018                                                            subject will shower in the morning when
                        Other                  RGV
   0412                                                               staff arrives
06/24/2018
                    Welfare Check              RGV
   0412
06/24/2018
             Snacks, Milk, Juice Provided      RGV
   0412
06/24/2018
                    Welfare Check              RGV
   0513
06/24/2018
                    Welfare Check              RGV
   0719
06/24/2018
                   Shower Provided             RGV
   0734
06/24/2018
                    Welfare Check              RGV
   0744
06/24/2018
                Served meal(Accepted)          RGV                    Hot Meal
   0744
06/24/2018
                    Welfare Check              RGV
   0805
06/24/2018
                    Welfare Check              RGV
   0901



SHEYLI J                                                                         Printed:      8/17/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/24/2018
                   Welfare Check              RGV
   1221
06/24/2018
                   Welfare Check              RGV
   1358
06/24/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1358
06/24/2018
                   Welfare Check              RGV
   1413
06/24/2018
                   Welfare Check              RGV
   1510
06/24/2018
                   Welfare Check              RGV
   1604
06/24/2018
                   Welfare Check              RGV
   1605
06/24/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1605
06/24/2018
                   Welfare Check              RGV
   1701
06/24/2018
                   Welfare Check              RGV
   1815
06/24/2018
                   Welfare Check              RGV
   1909
06/24/2018
             Snacks, Milk, Juice Provided     RGV
   2016
06/24/2018
                   Welfare Check              RGV
   2016
06/24/2018
                   Welfare Check              RGV
   2109
06/24/2018
                   Welfare Check              RGV
   2203
06/24/2018
                   Welfare Check              RGV
   2229
06/24/2018
               Served meal(Accepted)          RGV                    Cold Meal - snacks
   2229
06/24/2018
                   Welfare Check              RGV
   2309
06/25/2018
                   Welfare Check              RGV
   0018
06/25/2018
                   Welfare Check              RGV
   0101
06/25/2018
                   Welfare Check              RGV
   0122


SHEYLI J                                                                         Printed:      8/17/18
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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/25/2018
                Welfare Check          RGV
   0205
06/25/2018
                Welfare Check          RGV
   0304
06/25/2018
                Welfare Check          RGV
   0308
06/25/2018
                Welfare Check          RGV
   0407
06/25/2018
                Welfare Check          RGV
   0511
06/25/2018
              Processing Complete      RGV
   0528
06/25/2018
                Welfare Check          RGV
   0648
06/25/2018
                Welfare Check          RGV
   0649
06/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0649
06/25/2018
              UAC Video Shown          RGV
   0650
06/25/2018
                Welfare Check          RGV
   0707
06/25/2018
                Welfare Check          RGV
   0744
06/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0744
06/25/2018
                Welfare Check          RGV
   0830
06/25/2018
                Welfare Check          RGV
   1021
06/25/2018
                Welfare Check          RGV
   1318
06/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1318
06/25/2018
                Welfare Check          RGV
   1400
06/25/2018
                Welfare Check          RGV
   1434
06/25/2018
                Welfare Check          RGV
   1507
06/25/2018
                Welfare Check          RGV
   1609


SHEYLI J                                                                 Printed:      8/17/18
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Event:
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/25/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1609
06/25/2018
                   Welfare Check              RGV
   1612
06/25/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1612
06/25/2018
                   Welfare Check              RGV
   1726
06/25/2018
                   Welfare Check              RGV
   1828
06/25/2018
                   Welfare Check              RGV
   1909
06/25/2018
             Rejoined With Family Unit        RGV                    reunited with family units for 15 minutes.
   1913
06/25/2018
                   Welfare Check              RGV
   2001
06/25/2018
                   Welfare Check              RGV
   2111
06/25/2018
                   Welfare Check              RGV
   2143
06/25/2018
             Snacks, Milk, Juice Provided     RGV
   2201
06/25/2018
                   Welfare Check              RGV
   2201
06/25/2018
                   Welfare Check              RGV
   2243
06/25/2018
                   Welfare Check              RGV
   2314
06/26/2018
                   Welfare Check              RGV
   0005
06/26/2018
                   Welfare Check              RGV
   0120
06/26/2018
                   Welfare Check              RGV
   0201
06/26/2018
                   Welfare Check              RGV
   0213
06/26/2018
                   Welfare Check              RGV
   0306
06/26/2018
                   Welfare Check              RGV
   0401
06/26/2018
                   Welfare Check              RGV
   0505


SHEYLI J                                                                         Printed:      8/17/18
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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/26/2018
                Welfare Check          RGV
   0601
06/26/2018
                Welfare Check          RGV
   0602
06/26/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0602
06/26/2018
              UAC Video Shown          RGV
   0603
06/26/2018
                Welfare Check          RGV
   0717
06/26/2018
               Shower Provided         RGV
   0719
06/26/2018
                Perm Book Out          RGV
   1017




SHEYLI J                                                                 Printed:      8/17/18
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                                      #:24440

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                   Comments
                                             Facility
06/23/2018
                        Arrest                 N/A
   2030
06/23/2018
                       Book In                 MCS
   2348
06/24/2018   Sleeping Cot/Mat and Blanket
                                               MCS
   0159                Provided
06/24/2018
             Snacks, Milk, Juice Provided      MCS
   0159
06/24/2018
                    Welfare Check              MCS
   0159
06/24/2018
             Medical Screening Completed       MCS
   0159
06/24/2018
                      In Transit               MCS
   0352
06/24/2018
                      Received                 RGV
   0410
06/24/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0412                Provided
06/24/2018
             Medical Screening Completed       RGV
   0412
06/24/2018                                                            subject will shower in the morning when
                        Other                  RGV
   0412                                                               staff arrives
06/24/2018
                    Welfare Check              RGV
   0412
06/24/2018
             Snacks, Milk, Juice Provided      RGV
   0412
06/24/2018
                    Welfare Check              RGV
   0513
06/24/2018
                    Welfare Check              RGV
   0719
06/24/2018
                   Shower Provided             RGV
   0734
06/24/2018
                    Welfare Check              RGV
   0744
06/24/2018
                Served meal(Accepted)          RGV                    Hot Meal
   0744
06/24/2018
                    Welfare Check              RGV
   0805
06/24/2018
                    Welfare Check              RGV
   0901



ALBA P                                                                           Printed:      8/17/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/24/2018
                   Welfare Check              RGV
   1221
06/24/2018
                   Welfare Check              RGV
   1358
06/24/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1358
06/24/2018
                   Welfare Check              RGV
   1413
06/24/2018
                   Welfare Check              RGV
   1510
06/24/2018
                   Welfare Check              RGV
   1604
06/24/2018
                   Welfare Check              RGV
   1605
06/24/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1605
06/24/2018
                   Welfare Check              RGV
   1701
06/24/2018
                   Welfare Check              RGV
   1815
06/24/2018
                   Welfare Check              RGV
   1909
06/24/2018
             Snacks, Milk, Juice Provided     RGV
   2016
06/24/2018
                   Welfare Check              RGV
   2016
06/24/2018
                   Welfare Check              RGV
   2109
06/24/2018
                   Welfare Check              RGV
   2203
06/24/2018
                   Welfare Check              RGV
   2309
06/25/2018
                   Welfare Check              RGV
   0018
06/25/2018
                   Welfare Check              RGV
   0101
06/25/2018
                   Welfare Check              RGV
   0122
06/25/2018
                   Welfare Check              RGV
   0205
06/25/2018
                   Welfare Check              RGV
   0304


ALBA P                                                                           Printed:      8/17/18
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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/25/2018
                Welfare Check          RGV
   0308
06/25/2018
                Welfare Check          RGV
   0407
06/25/2018
                Welfare Check          RGV
   0511
06/25/2018
              Processing Complete      RGV
   0528
06/25/2018
                Welfare Check          RGV
   0648
06/25/2018
                Welfare Check          RGV
   0649
06/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0649
06/25/2018
                Welfare Check          RGV
   0707
06/25/2018
                Welfare Check          RGV
   0744
06/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0744
06/25/2018
                Welfare Check          RGV
   0830
06/25/2018
                Welfare Check          RGV
   1021
06/25/2018
                Welfare Check          RGV
   1318
06/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1318
06/25/2018
                Welfare Check          RGV
   1400
06/25/2018
                Welfare Check          RGV
   1434
06/25/2018
                Welfare Check          RGV
   1507
06/25/2018
                Welfare Check          RGV
   1609
06/25/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1609
06/25/2018
                Welfare Check          RGV
   1612
06/25/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1612


ALBA P                                                                    Printed:      8/17/18
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Event:
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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/25/2018
                   Welfare Check              RGV
   1726
06/25/2018
                   Welfare Check              RGV
   1828
06/25/2018
                   Welfare Check              RGV
   1909
06/25/2018
                   Welfare Check              RGV
   2001
06/25/2018
                   Welfare Check              RGV
   2111
06/25/2018
                   Welfare Check              RGV
   2143
06/25/2018
             Snacks, Milk, Juice Provided     RGV
   2201
06/25/2018
                   Welfare Check              RGV
   2201
06/25/2018
                   Welfare Check              RGV
   2243
06/25/2018
                   Welfare Check              RGV
   2314
06/26/2018
                   Welfare Check              RGV
   0005
06/26/2018
                   Welfare Check              RGV
   0120
06/26/2018
                   Welfare Check              RGV
   0201
06/26/2018
                   Welfare Check              RGV
   0213
06/26/2018
                   Welfare Check              RGV
   0306
06/26/2018
                   Welfare Check              RGV
   0401
06/26/2018
                   Welfare Check              RGV
   0505
06/26/2018
                   Welfare Check              RGV
   0601
06/26/2018
                   Welfare Check              RGV
   0602
06/26/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0602
06/26/2018
                   Welfare Check              RGV
   0717


ALBA P                                                                          Printed:      8/17/18
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                                 Station /
Date/Time         Activity                   Agent Name             Comments
                                 Facility
06/26/2018
               Perm Book Out       RGV
   1017




ALBA P                                                         Printed:      8/17/18
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Event:
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                                      #:24445




Subject Activity Log


MARIA R
                                   Gender:                F
                                   DOB:                         (35 yoa)
                                   Nationality:           HONDURAS
                                   Accompanying Adult(s):




                                   Event:
                                   A-File #:
                                   FINS #:
                                   Disposition:
Medical Conditions:                               Detention Reasons:
No Medical Conditions Found                       Immigration Violation




Arrest Date/Time:   05/29/2018 0100
Book In Date/Time:  05/29/2018 1112
Book Out Date/Time: 06/01/2018 1346

Processing Agent:
Transport Officer:
Apprehending Agents

ORR Facility:

Possible Trafficking?                                   Expresses Fear of Return?




MARIA RIVAS-IRAHETA                                                       Printed:      8/8/18
DOB: 06/24/1982(35 yoa)   A-File #: 215720024                             Page 1 of 6
Event: MCS1805001102
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/30/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22S side
   1503
05/30/2018                                                           D166 assisted with the checks on the 22k
                   Welfare Check              RGV
   1552                                                              side
05/30/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1552
05/30/2018                                                           D166 assisted with the checks on the 22k
                   Welfare Check              RGV
   1653                                                              side
05/30/2018                                                           D166 assisted with the checks on the 22k
                   Welfare Check              RGV
   1757                                                              side
05/30/2018                                                           D166 assisted with the checks on the 22k
                   Welfare Check              RGV
   1852                                                              side
05/30/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   2007
05/30/2018
                   Welfare Check              RGV                    D166 assisted with checks of 22K side
   2057
05/30/2018
             Snacks, Milk, Juice Provided     RGV
   2201
05/30/2018
                   Welfare Check              RGV
   2201
05/30/2018
                   Welfare Check              RGV
   2342
05/31/2018
                   Welfare Check              RGV
   0000
05/31/2018
                   Welfare Check              RGV
   0100
05/31/2018
                   Welfare Check              RGV
   0134
05/31/2018
                   Welfare Check              RGV
   0200
05/31/2018
                   Welfare Check              RGV
   0325
05/31/2018
                   Welfare Check              RGV
   0405
05/31/2018
                   Welfare Check              RGV
   0508
05/31/2018
                   Welfare Check              RGV
   0600
05/31/2018
                   Welfare Check              RGV
   0759
05/31/2018
                   Welfare Check              RGV
   0803


MARIA R                                                                          Printed:      8/8/18
DOB:               A-File #:                                                     Page 4 of 6
Event:
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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
05/31/2018
             Served meal(Accepted)     RGV                    Cold Meal
   0803
05/31/2018
                Welfare Check          RGV
   0903
05/31/2018
                Welfare Check          RGV
   0959
05/31/2018
                Welfare Check          RGV
   1206
05/31/2018
                Welfare Check          RGV
   1311
05/31/2018
                Welfare Check          RGV
   1404
05/31/2018
                Welfare Check          RGV
   1455
05/31/2018
                Welfare Check          RGV
   1559
05/31/2018
                Welfare Check          RGV
   1600
05/31/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1600
05/31/2018
                Welfare Check          RGV
   1700
05/31/2018
                Welfare Check          RGV
   1808
05/31/2018
                Welfare Check          RGV
   2000
05/31/2018
                Welfare Check          RGV
   2113
05/31/2018
                Welfare Check          RGV
   2230
05/31/2018
                Welfare Check          RGV
   2331
06/01/2018
                Welfare Check          RGV
   0022
06/01/2018
                Welfare Check          RGV
   0106
06/01/2018
                Welfare Check          RGV
   0207
06/01/2018
                Welfare Check          RGV
   0306
06/01/2018
                Welfare Check          RGV
   0404


MARIA R                                                                   Printed:      8/8/18
DOB:            A-File #:                                                 Page 5 of 6
Event:
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   Case 2:85-cv-04544-DMG-AGR Document 475-7 Filed 08/24/18 Page 50 of 165 Page ID
                                     #:24451




Subject Activity Log


BLANCA P
                                     Gender:                F
                                     DOB:                         (17 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   05/29/2018 0100
Book In Date/Time:  05/29/2018 1112
Book Out Date/Time: 06/01/2018 1346

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




BLANCA P                                                                    Printed:      8/8/18
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Event:
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
05/29/2018
                        Arrest                 N/A
   0100
05/29/2018
                       Book In                 MCS
   0332
05/29/2018
                    Welfare Check              MCS
   0747
05/29/2018
                      In Transit               MCS
   0848
05/29/2018
                      Received                 RGV
   1112
05/29/2018
                    Welfare Check              RGV
   1130
05/29/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   1137                Provided
05/29/2018
              Medical Treatment (OBP)          RGV
   1137
05/29/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1137
05/29/2018
                    Welfare Check              RGV
   1137
05/29/2018
                   Shower Provided             RGV
   1137
05/29/2018
                    Welfare Check              RGV
   1230
05/29/2018
                    Welfare Check              RGV
   1357
05/29/2018
                    Welfare Check              RGV
   1415
05/29/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1415
05/29/2018
                    Welfare Check              RGV                    D166 assisted with checks on the 22k side
   1510
05/29/2018
                    Welfare Check              RGV
   1600
05/29/2018
                Served meal(Accepted)          RGV                    Cold Meal
   1600
05/29/2018
                    Welfare Check              RGV
   1658
05/29/2018
                 UAC Video Shown               RGV
   1658



BLANCA P                                                                          Printed:      8/8/18
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Event:
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/29/2018
             Rejoined With Family Unit        RGV
   1743
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   1857
05/29/2018
             Snacks, Milk, Juice Provided     RGV
   2003
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   2003
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   2059
05/29/2018
             Snacks, Milk, Juice Provided     RGV
   2204
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   2204
05/30/2018
                   Welfare Check              RGV
   0017
05/30/2018
                   Welfare Check              RGV
   0216
05/30/2018
                   Welfare Check              RGV
   0307
05/30/2018
                   Welfare Check              RGV
   0409
05/30/2018
                   Welfare Check              RGV
   0652
05/30/2018
                   Welfare Check              RGV
   0711
05/30/2018
                   Welfare Check              RGV
   0904
05/30/2018
                   Welfare Check              RGV
   1007
05/30/2018
                   Welfare Check              RGV
   1055
05/30/2018
                 UAC Video Shown              RGV                    know what to expect
   1055
05/30/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   1055
05/30/2018
               FOJC and ORR Notified          RGV                    Transaction ID:
   1059
05/30/2018
                   Welfare Check              RGV
   1109
05/30/2018
                   Welfare Check              RGV
   1231


BLANCA P                                                                       Printed:      8/8/18
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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
05/31/2018
                Welfare Check          RGV
   1404
05/31/2018
                Welfare Check          RGV
   1455
05/31/2018
                Welfare Check          RGV
   1559
05/31/2018
                Welfare Check          RGV
   1600
05/31/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1600
05/31/2018
                Welfare Check          RGV
   1700
05/31/2018
                Welfare Check          RGV
   1808
05/31/2018
                Welfare Check          RGV
   2000
05/31/2018
                Welfare Check          RGV
   2113
05/31/2018
                Welfare Check          RGV
   2230
05/31/2018
                Welfare Check          RGV
   2331
06/01/2018
                Welfare Check          RGV
   0022
06/01/2018
                Welfare Check          RGV
   0106
06/01/2018
                Welfare Check          RGV
   0207
06/01/2018
                Welfare Check          RGV
   0306
06/01/2018
                Welfare Check          RGV
   0404
06/01/2018
                Welfare Check          RGV
   0515
06/01/2018
                Welfare Check          RGV
   0605
06/01/2018
                Welfare Check          RGV
   0606
06/01/2018
                Welfare Check          RGV
   0700
06/01/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0700


BLANCA P                                                                  Printed:      8/8/18
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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/01/2018
              UAC Video Shown          RGV
   0700
06/01/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0725
06/01/2018
                Welfare Check          RGV
   0825
06/01/2018                                                    UAC was reunified with mother after Zero
                UAC72 - Other          RGV
   0853                                                       T
06/01/2018
                Perm Book Out          RGV                    MFT0010870621
   1346




BLANCA P                                                                 Printed:      8/8/18
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                                     Subject Activity Log


                                      Station /
Date/Time          Activity                       Agent Name                    Comments
                                      Facility
05/28/2018
                    Arrest              N/A
   1130
05/28/2018
                   Book In              MCS
   1317
05/28/2018
                Welfare Check           MCS
   1451
05/28/2018
                Welfare Check           MCS
   1604
05/28/2018
                Welfare Check           MCS
   1753
05/28/2018
                Welfare Check           MCS
   1914
05/28/2018
             Served meal(Accepted)      MCS                    Hot Meal - 1700
   1914
05/28/2018
              Processing Complete       MCS
   1951
05/29/2018
                   In Transit           MCS
   0148
05/29/2018
                   Received             RGV
   0150
05/29/2018
                Welfare Check           RGV
   0225
05/29/2018
                Welfare Check           RGV
   0312
05/29/2018
                Welfare Check           RGV
   0405
05/29/2018
                Welfare Check           RGV
   0506
05/29/2018
                Welfare Check           RGV
   0607
05/29/2018
                Welfare Check           RGV
   0700
05/29/2018
                Welfare Check           RGV
   0835
05/29/2018
             Served meal(Accepted)      RGV                    Cold Meal
   0835
05/29/2018
                Welfare Check           RGV
   1030
05/29/2018
                Welfare Check           RGV
   1130



JESSICA C                                                                  Printed:      8/17/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/29/2018
                   Welfare Check              RGV
   1230
05/29/2018
                   Welfare Check              RGV
   1357
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on the 22k side
   1510
05/29/2018
                   Welfare Check              RGV
   1600
05/29/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
05/29/2018
                   Welfare Check              RGV
   1658
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   1857
05/29/2018
             Snacks, Milk, Juice Provided     RGV
   2003
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   2003
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   2059
05/29/2018
             Snacks, Milk, Juice Provided     RGV
   2204
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   2204
05/30/2018
                   Welfare Check              RGV
   0017
05/30/2018
                   Welfare Check              RGV
   0216
05/30/2018
                   Welfare Check              RGV
   0307
05/30/2018
                   Welfare Check              RGV
   0409
05/30/2018
                   Welfare Check              RGV
   0652
05/30/2018
                   Perm Book Out              RGV
   0653
05/30/2018
                       Book In                RGV
   1242
05/30/2018
                   Welfare Check              RGV
   1330
05/30/2018
                   Welfare Check              RGV
   1336


JESSICA C                                                                        Printed:      8/17/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/30/2018
               Served meal(Accepted)          RGV                    Cold Meal - fed
   1336
05/30/2018
                   Welfare Check              RGV
   1420
05/30/2018
                   Welfare Check              RGV
   1500
05/30/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22S side
   1503
05/30/2018                                                           D166 assisted with the checks on the 22k
                   Welfare Check              RGV
   1552                                                              side
05/30/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1552
05/30/2018                                                           D166 assisted with the checks on the 22k
                   Welfare Check              RGV
   1653                                                              side
05/30/2018                                                           D166 assisted with the checks on the 22k
                   Welfare Check              RGV
   1757                                                              side
05/30/2018                                                           D166 assisted with the checks on the 22k
                   Welfare Check              RGV
   1852                                                              side
05/30/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   2007
05/30/2018
                   Welfare Check              RGV                    D166 assisted with checks of 22K side
   2057
05/30/2018
             Snacks, Milk, Juice Provided     RGV
   2201
05/30/2018
                   Welfare Check              RGV
   2201
05/30/2018
                   Welfare Check              RGV
   2342
05/31/2018
                   Welfare Check              RGV
   0000
05/31/2018
                   Welfare Check              RGV
   0100
05/31/2018
                   Welfare Check              RGV
   0134
05/31/2018
                   Welfare Check              RGV
   0200
05/31/2018
                   Welfare Check              RGV
   0325
05/31/2018
                   Welfare Check              RGV
   0405
05/31/2018
                   Welfare Check              RGV
   0508


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                                        Station /
Date/Time           Activity                        Agent Name                    Comments
                                        Facility
05/31/2018
                  Welfare Check           RGV
   0600
05/31/2018
                  Welfare Check           RGV
   0759
05/31/2018
                  Welfare Check           RGV
   0803
05/31/2018
              Served meal(Accepted)       RGV                    Cold Meal
   0803
05/31/2018
             Bodily Cleansing Product     RGV
   0834
05/31/2018
             Dental Hygiene Product       RGV
   0834
05/31/2018
             Clean Clothing Provided      RGV
   0834
05/31/2018
                Shower Provided           RGV
   0834
05/31/2018
                  Welfare Check           RGV
   0903
05/31/2018
                  Welfare Check           RGV
   0959
05/31/2018
                  Welfare Check           RGV
   1206
05/31/2018
                  Welfare Check           RGV
   1311
05/31/2018
                  Welfare Check           RGV
   1404
05/31/2018
                  Welfare Check           RGV
   1455
05/31/2018
                  Welfare Check           RGV
   1559
05/31/2018
                  Welfare Check           RGV
   1600
05/31/2018
              Served meal(Accepted)       RGV                    Cold Meal
   1600
05/31/2018
                  Welfare Check           RGV
   1700
05/31/2018
                  Welfare Check           RGV
   1808
05/31/2018
                  Welfare Check           RGV
   2000
05/31/2018
                  Welfare Check           RGV
   2113


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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
05/31/2018
                Welfare Check          RGV
   2230
05/31/2018
                Welfare Check          RGV
   2331
06/01/2018
                Welfare Check          RGV
   0022
06/01/2018
                Welfare Check          RGV
   0106
06/01/2018
                Welfare Check          RGV
   0207
06/01/2018
                Welfare Check          RGV
   0306
06/01/2018
                Welfare Check          RGV
   0404
06/01/2018
                Welfare Check          RGV
   0515
06/01/2018
                Welfare Check          RGV
   0605
06/01/2018
                Welfare Check          RGV
   0606
06/01/2018
                Welfare Check          RGV
   0700
06/01/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0725
06/01/2018
                Welfare Check          RGV
   0825
06/01/2018
                Perm Book Out          RGV
   1346




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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                  Comments
                                             Facility
05/28/2018
                        Arrest                 N/A
   1130
05/28/2018
                       Book In                 MCS
   1318
05/28/2018
                    Welfare Check              MCS
   1451
05/28/2018
                    Welfare Check              MCS
   1604
05/28/2018
                    Welfare Check              MCS
   1753
05/28/2018
                    Welfare Check              MCS
   1913
05/28/2018
                Served meal(Accepted)          MCS                    Cold Meal - meal, juice
   1913
05/28/2018
                    Welfare Check              MCS
   1914
05/28/2018
                Served meal(Accepted)          MCS                    Hot Meal - 1700
   1914
05/28/2018
               FOJC and ORR Notified           MCS
   2103
05/29/2018
                      In Transit               MCS
   0212
05/29/2018
                      Received                 RGV
   0238
05/29/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0240                Provided
05/29/2018
              Medical Treatment (OBP)          RGV                    Examined and cleared by Ursula Medical
   0240
05/29/2018
                Served meal(Accepted)          RGV                    Cold Meal - Served a snack upon arrival
   0240
05/29/2018
                    Welfare Check              RGV                    Subject arrived well
   0240
05/29/2018                                                            Shower will be provided at 0700 hrs when
                   Shower Provided             RGV
   0240                                                               shower operations resume
05/29/2018
                    Welfare Check              RGV
   0312
05/29/2018
                    Welfare Check              RGV
   0405
05/29/2018
                    Welfare Check              RGV
   0506



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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/29/2018
                    Welfare Check             RGV
   0607
05/29/2018
                    Welfare Check             RGV
   0700
05/29/2018
                 UAC Video Shown              RGV
   0700
05/29/2018
                    Welfare Check             RGV
   0833
05/29/2018
                Served meal(Accepted)         RGV                    Hot Meal
   0833
05/29/2018
               Bodily Cleansing Product       RGV
   0837
05/29/2018
               Dental Hygiene Product         RGV
   0837
05/29/2018
               Clean Clothing Provided        RGV
   0837
05/29/2018
                    Welfare Check             RGV
   0837
05/29/2018
             Snacks, Milk, Juice Provided     RGV
   0837
05/29/2018
                   Shower Provided            RGV
   0837
05/29/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0837                Provided
05/29/2018
                 Processing Complete          RGV
   0954
05/29/2018
                    Welfare Check             RGV
   1030
05/29/2018
                    Welfare Check             RGV
   1130
05/29/2018
                Served meal(Accepted)         RGV                    Hot Meal
   1200
05/29/2018
                    Welfare Check             RGV
   1230
05/29/2018
                    Welfare Check             RGV
   1357
05/29/2018
                    Welfare Check             RGV                    D166 assisted with checks on the 22k side
   1510
05/29/2018
                    Welfare Check             RGV
   1600
05/29/2018
                Served meal(Accepted)         RGV                    Cold Meal
   1600


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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/29/2018
                   Welfare Check              RGV
   1658
05/29/2018
                 UAC Video Shown              RGV
   1658
05/29/2018
                   Telephone Used             RGV                    allotted time to utilize the phone
   1744
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   1857
05/29/2018
             Snacks, Milk, Juice Provided     RGV
   2003
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   2003
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   2059
05/29/2018
             Snacks, Milk, Juice Provided     RGV
   2204
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   2204
05/30/2018
                   Welfare Check              RGV
   0017
05/30/2018
                   Welfare Check              RGV
   0216
05/30/2018
                   Welfare Check              RGV
   0307
05/30/2018
                   Welfare Check              RGV
   0409
05/30/2018
                   Welfare Check              RGV
   0652
05/30/2018
                   Welfare Check              RGV
   0711
05/30/2018
                   Welfare Check              RGV
   0904
05/30/2018
                   Welfare Check              RGV
   1007
05/30/2018
                   Welfare Check              RGV
   1055
05/30/2018
                 UAC Video Shown              RGV                    know what to expect
   1055
05/30/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   1055
05/30/2018
                   Welfare Check              RGV
   1109


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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/30/2018
                   Welfare Check              RGV
   1231
05/30/2018
                   Welfare Check              RGV
   1330
05/30/2018
                   Welfare Check              RGV
   1420
05/30/2018
                   Welfare Check              RGV
   1500
05/30/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22S side
   1503
05/30/2018                                                           D166 assisted with the checks on the 22k
                   Welfare Check              RGV
   1552                                                              side
05/30/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1552
05/30/2018                                                           D166 assisted with the checks on the 22k
                   Welfare Check              RGV
   1653                                                              side
05/30/2018
                 UAC Video Shown              RGV
   1653
05/30/2018                                                           D166 assisted with the checks on the 22k
                   Welfare Check              RGV
   1757                                                              side
05/30/2018
                   Telephone Used             RGV                    opportunity given
   1759
05/30/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1845
05/30/2018                                                           D166 assisted with the checks on the 22k
                   Welfare Check              RGV
   1852                                                              side
05/30/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   2007
05/30/2018
                   Welfare Check              RGV                    D166 assisted with checks of 22K side
   2057
05/30/2018
             Snacks, Milk, Juice Provided     RGV
   2201
05/30/2018
                   Welfare Check              RGV
   2201
05/30/2018
                   Welfare Check              RGV
   2342
05/31/2018
                   Welfare Check              RGV
   0000
05/31/2018
                   Welfare Check              RGV
   0100
05/31/2018
                   Welfare Check              RGV
   0134


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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
05/31/2018
                    Welfare Check             RGV
   0200
05/31/2018
                    Welfare Check             RGV
   0325
05/31/2018
                    Welfare Check             RGV
   0405
05/31/2018
                    Welfare Check             RGV
   0508
05/31/2018
                    Welfare Check             RGV
   0600
05/31/2018
                    Welfare Check             RGV
   0759
05/31/2018
                    Welfare Check             RGV
   0801
05/31/2018
                Served meal(Accepted)         RGV                    Hot Meal
   0801
05/31/2018                                                           MINOR WAS SHOWN VIDEO
                 UAC Video Shown              RGV
   0809                                                              REGARDING WHAT TO EXPECT.
05/31/2018
               Bodily Cleansing Product       RGV
   0835
05/31/2018
               Dental Hygiene Product         RGV
   0835
05/31/2018
               Clean Clothing Provided        RGV
   0835
05/31/2018
                   Shower Provided            RGV
   0835
05/31/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0835                Provided
05/31/2018
                    Welfare Check             RGV
   0903
05/31/2018
                    Welfare Check             RGV
   0959
05/31/2018
                    Welfare Check             RGV
   1206
05/31/2018
                    Welfare Check             RGV
   1235
05/31/2018
                Served meal(Accepted)         RGV                    Hot Meal
   1235
05/31/2018                                                           SHOWN VIDEO REGARDING WHAT
                 UAC Video Shown              RGV
   1250                                                              TO EXPECT.
05/31/2018                                                           Minor is no longer a UAC, minor will
                   UAC72 - Other              RGV
   1251                                                              remain as a family unit


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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
05/31/2018
                Welfare Check          RGV
   1311
05/31/2018
                Welfare Check          RGV
   1404
05/31/2018
                Welfare Check          RGV
   1455
05/31/2018
                Welfare Check          RGV
   1559
05/31/2018
                Welfare Check          RGV
   1600
05/31/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1600
05/31/2018
                Welfare Check          RGV
   1700
05/31/2018
                Welfare Check          RGV
   1808
05/31/2018
                Welfare Check          RGV
   2000
05/31/2018
                Welfare Check          RGV
   2113
05/31/2018
                Welfare Check          RGV
   2230
05/31/2018
                Welfare Check          RGV
   2331
06/01/2018
                Welfare Check          RGV
   0022
06/01/2018
                Welfare Check          RGV
   0106
06/01/2018
                Welfare Check          RGV
   0207
06/01/2018
                Welfare Check          RGV
   0306
06/01/2018
                Welfare Check          RGV
   0404
06/01/2018
                Welfare Check          RGV
   0515
06/01/2018
                Welfare Check          RGV
   0605
06/01/2018
                Welfare Check          RGV
   0606
06/01/2018
                Welfare Check          RGV
   0700


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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/01/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0700
06/01/2018
              UAC Video Shown          RGV
   0700
06/01/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0725
06/01/2018
                Welfare Check          RGV
   0825
06/01/2018
                Perm Book Out          RGV
   1346




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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/14/2018
                        Arrest                 N/A
   1700
06/14/2018
                       Book In                 RGC
   1907
06/15/2018
                    Welfare Check              RGC
   0028
06/15/2018
                Served meal(Accepted)          RGC                    Cold Meal
   0028
06/15/2018
                    Welfare Check              RGC
   0500
06/15/2018
                Served meal(Accepted)          RGC                    Cold Meal
   0500
06/15/2018
                      In Transit               RGC
   0645
06/15/2018
                      Received                 RGV
   0901
06/15/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   1012                Provided
06/15/2018
             Medical Screening Completed       RGV
   1012
06/15/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1012
06/15/2018
                    Welfare Check              RGV
   1012
06/15/2018
                   Shower Provided             RGV
   1012
06/15/2018
                    Welfare Check              RGV
   1038
06/15/2018
                    Welfare Check              RGV
   1147
06/15/2018
                    Welfare Check              RGV
   1207
06/15/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1207
06/15/2018
                    Welfare Check              RGV
   1318
06/15/2018
                    Welfare Check              RGV
   1400
06/15/2018
                    Welfare Check              RGV
   1500



CLAUDIA Q                                                                         Printed:      8/17/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
                   Welfare Check              RGV
   1538
06/15/2018
                   Welfare Check              RGV
   1600
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/16/2018
                   Welfare Check              RGV
   0207
06/16/2018
                   Welfare Check              RGV
   0302
06/16/2018
                   Welfare Check              RGV
   0403
06/16/2018
                   Welfare Check              RGV
   0523
06/16/2018
                   Welfare Check              RGV
   0744
06/16/2018
               Served meal(Accepted)          RGV                    Cold Meal - fed
   0744
06/16/2018
                   Welfare Check              RGV
   0748
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0748
06/16/2018
                   Welfare Check              RGV
   0749
06/16/2018
                   Welfare Check              RGV
   0914


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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/16/2018
                Welfare Check          RGV
   1153
06/16/2018
                Welfare Check          RGV
   1249
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal - fed
   1249
06/16/2018
                Welfare Check          RGV
   1253
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   1253
06/16/2018
                Welfare Check          RGV
   1319
06/16/2018
                Welfare Check          RGV
   1404
06/16/2018
                Welfare Check          RGV
   1458
06/16/2018
                Welfare Check          RGV
   1557
06/16/2018
                Welfare Check          RGV
   1658
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1658
06/16/2018
                Welfare Check          RGV
   1753
06/16/2018
                Welfare Check          RGV
   1904
06/16/2018
                Welfare Check          RGV
   2052
06/16/2018
                Welfare Check          RGV
   2247
06/17/2018
                Welfare Check          RGV
   0028
06/17/2018
                Welfare Check          RGV
   0100
06/17/2018
                Welfare Check          RGV
   0200
06/17/2018
                Welfare Check          RGV
   0302
06/17/2018
                Welfare Check          RGV
   0400
06/17/2018
                Welfare Check          RGV
   0405


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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/17/2018
                Welfare Check          RGV
   0500
06/17/2018
                Welfare Check          RGV
   0559
06/17/2018
                Welfare Check          RGV
   0654
06/17/2018
                Welfare Check          RGV
   0700
06/17/2018
                Welfare Check          RGV
   0736
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0736
06/17/2018
                Welfare Check          RGV
   0822
06/17/2018
                Welfare Check          RGV
   0903
06/17/2018
                Welfare Check          RGV
   1004
06/17/2018
                Welfare Check          RGV
   1105
06/17/2018
                Welfare Check          RGV
   1206
06/17/2018
                Welfare Check          RGV
   1208
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1208
06/17/2018
                Welfare Check          RGV
   1305
06/17/2018
                Welfare Check          RGV
   1402
06/17/2018
                Welfare Check          RGV
   1504
06/17/2018
                Welfare Check          RGV
   1602
06/17/2018
                Welfare Check          RGV
   1702
06/17/2018
                Welfare Check          RGV
   1704
06/17/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1704
06/17/2018
                Welfare Check          RGV
   1922


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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/17/2018
                    Welfare Check             RGV
   2000
06/17/2018
                 Processing Complete          RGV
   2059
06/17/2018
                    Welfare Check             RGV
   2120
06/17/2018
             Snacks, Milk, Juice Provided     RGV
   2228
06/17/2018
                    Welfare Check             RGV
   2228
06/17/2018
                    Welfare Check             RGV
   2356
06/18/2018
                    Welfare Check             RGV
   0059
06/18/2018
                    Welfare Check             RGV
   0150
06/18/2018
                    Welfare Check             RGV
   0210
06/18/2018
                    Welfare Check             RGV
   0308
06/18/2018
                    Welfare Check             RGV
   0402
06/18/2018
                    Welfare Check             RGV
   0505
06/18/2018
                    Welfare Check             RGV
   0551
06/18/2018
                    Welfare Check             RGV
   0700
06/18/2018
                Served meal(Accepted)         RGV                    Hot Meal
   0701
06/18/2018
                    Welfare Check             RGV
   0800
06/18/2018
               Bodily Cleansing Product       RGV
   0825
06/18/2018
               Dental Hygiene Product         RGV
   0825
06/18/2018
               Clean Clothing Provided        RGV
   0825
06/18/2018
                   Shower Provided            RGV
   0825
06/18/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0825                Provided


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                                 Station /
Date/Time         Activity                   Agent Name             Comments
                                 Facility
06/18/2018
                Welfare Check      RGV
   0900
06/18/2018
                Welfare Check      RGV
   1002
06/18/2018
                Welfare Check      RGV
   1100
06/18/2018
                Welfare Check      RGV
   1200
06/18/2018
               Perm Book Out       RGV
   1212




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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/14/2018
                        Arrest                 N/A
   1700
06/14/2018
                       Book In                 RGC
   1908
06/15/2018
                    Welfare Check              RGC
   0028
06/15/2018
                Served meal(Accepted)          RGC                    Cold Meal
   0028
06/15/2018
             Snacks, Milk, Juice Provided      RGC
   0500
06/15/2018
                Served meal(Accepted)          RGC                    Cold Meal
   0500
06/15/2018
                    Welfare Check              RGC
   0500
06/15/2018
                      In Transit               RGC
   0645
06/15/2018
                      Received                 RGV
   0901
06/15/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   1012                Provided
06/15/2018
             Medical Screening Completed       RGV
   1012
06/15/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1012
06/15/2018
                    Welfare Check              RGV
   1012
06/15/2018
                   Shower Provided             RGV
   1012
06/15/2018
                    Welfare Check              RGV
   1038
06/15/2018
                    Welfare Check              RGV
   1147
06/15/2018
                    Welfare Check              RGV
   1207
06/15/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1207
06/15/2018
                    Welfare Check              RGV
   1318
06/15/2018
                    Welfare Check              RGV
   1400



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                                            Station /
Date/Time                Activity                       Agent Name                    Comments
                                            Facility
06/15/2018
                   Welfare Check              RGV
   1500
06/15/2018
                   Welfare Check              RGV
   1538
06/15/2018
                   Welfare Check              RGV
   1600
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
             Rejoined With Family Unit        RGV                    Family visit
   1800
06/15/2018
               Separated from Family          RGV                    Cell - Operationally infeasible.
   1830
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/16/2018
                   Welfare Check              RGV
   0207
06/16/2018
                   Welfare Check              RGV
   0302
06/16/2018
                   Welfare Check              RGV
   0403
06/16/2018
                   Welfare Check              RGV
   0523
06/16/2018
                   Welfare Check              RGV
   0742
06/16/2018
                 UAC Video Shown              RGV                    know what to expect
   0742
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0742


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                                         Station /
Date/Time            Activity                        Agent Name                    Comments
                                         Facility
06/16/2018
                  Welfare Check            RGV
   0748
06/16/2018
              Served meal(Accepted)        RGV                    Hot Meal - fed
   0748
06/16/2018
                  Welfare Check            RGV
   0749
06/16/2018
                  Welfare Check            RGV
   0914
06/16/2018
                  Welfare Check            RGV
   1153
06/16/2018
                  Welfare Check            RGV
   1245
06/16/2018
                UAC Video Shown            RGV                    know what to expect
   1245
06/16/2018
              Served meal(Accepted)        RGV                    Hot Meal - fed
   1245
06/16/2018
                  Welfare Check            RGV
   1253
06/16/2018
              Served meal(Accepted)        RGV                    Hot Meal - fed
   1253
06/16/2018
                  Welfare Check            RGV
   1319
06/16/2018
                  Welfare Check            RGV
   1404
06/16/2018
                  Welfare Check            RGV
   1458
06/16/2018
                  Welfare Check            RGV
   1557
06/16/2018
                  Welfare Check            RGV
   1658
06/16/2018
              Served meal(Accepted)        RGV                    Cold Meal
   1658
06/16/2018
                  Welfare Check            RGV
   1753
06/16/2018
             Rejoined With Family Unit     RGV
   1800
06/16/2018
                  Welfare Check            RGV
   1904
06/16/2018
                  Welfare Check            RGV
   2052
06/16/2018
                  Welfare Check            RGV
   2247


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                                        Station /
Date/Time           Activity                        Agent Name                   Comments
                                        Facility
06/17/2018
                  Welfare Check           RGV
   0028
06/17/2018
                  Welfare Check           RGV
   0100
06/17/2018
                  Welfare Check           RGV
   0200
06/17/2018
                  Welfare Check           RGV
   0302
06/17/2018
                  Welfare Check           RGV
   0400
06/17/2018
                  Welfare Check           RGV
   0405
06/17/2018
                  Welfare Check           RGV
   0500
06/17/2018
                  Welfare Check           RGV
   0559
06/17/2018
                  Welfare Check           RGV
   0654
06/17/2018
                  Welfare Check           RGV
   0700
06/17/2018
                  Welfare Check           RGV
   0736
06/17/2018
              Served meal(Accepted)       RGV                    Hot Meal
   0736
06/17/2018
             Bodily Cleansing Product     RGV
   0805
06/17/2018
             Dental Hygiene Product       RGV
   0805
06/17/2018
             Clean Clothing Provided      RGV
   0805
06/17/2018
                Shower Provided           RGV
   0805
06/17/2018
                  Welfare Check           RGV
   0822
06/17/2018
                  Welfare Check           RGV
   0903
06/17/2018
                  Welfare Check           RGV
   1004
06/17/2018
                  Welfare Check           RGV
   1105
06/17/2018
                  Welfare Check           RGV
   1206


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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/17/2018
                   Welfare Check              RGV
   1208
06/17/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1208
06/17/2018
                   Welfare Check              RGV
   1305
06/17/2018
                   Welfare Check              RGV
   1402
06/17/2018
                   Welfare Check              RGV
   1504
06/17/2018
                   Welfare Check              RGV
   1602
06/17/2018
                   Welfare Check              RGV
   1702
06/17/2018
                   Welfare Check              RGV
   1704
06/17/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1704
06/17/2018
                   Welfare Check              RGV
   1922
06/17/2018
                   Welfare Check              RGV
   2000
06/17/2018
                Processing Complete           RGV
   2059
06/17/2018
                   Welfare Check              RGV
   2120
06/17/2018
             Snacks, Milk, Juice Provided     RGV
   2228
06/17/2018
                   Welfare Check              RGV
   2228
06/17/2018
                   Welfare Check              RGV
   2356
06/18/2018
                   Welfare Check              RGV
   0059
06/18/2018
                   Welfare Check              RGV
   0150
06/18/2018
                   Welfare Check              RGV
   0210
06/18/2018
                   Welfare Check              RGV
   0308
06/18/2018
                   Welfare Check              RGV
   0402


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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                  Comments
                                             Facility
06/19/2018
                        Arrest                 N/A
   1320
06/19/2018
                       Book In                 WSL
   1919
06/19/2018
                   Welfare Check               WSL
   1944
06/19/2018
                 UAC Video Shown               WSL
   1945
06/19/2018
                   Welfare Check               WSL
   1947
06/19/2018
                Served meal(Accepted)          WSL                    Cold Meal - snack
   1947
06/19/2018
                   Welfare Check               WSL
   2021
06/19/2018
             Medical Screening Completed       WSL                    Subjects exposed to Chickenpox
   2050
06/19/2018
                   Welfare Check               WSL
   2103
06/19/2018
                 UAC Video Shown               WSL
   2117
06/19/2018
                Served meal(Accepted)          WSL                    Cold Meal - snack
   2148
06/19/2018
               FOJC and ORR Notified           WSL
   2358
06/20/2018
                   Welfare Check               WSL
   0034
06/20/2018
                 UAC Video Shown               WSL
   0034
06/20/2018
               FOJC and ORR Notified           WSL
   0034
06/20/2018
             Contacted Family Unit/Group       WSL
   0034
06/20/2018
                   Welfare Check               WSL
   0054
06/20/2018
                   Welfare Check               WSL
   0155
06/20/2018
                   Welfare Check               WSL
   0305
06/20/2018
             Snacks, Milk, Juice Provided      WSL                    crackers and juice
   0425



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                                     Station /
Date/Time          Activity                      Agent Name                     Comments
                                     Facility
06/20/2018
             Served meal(Accepted)     WSL                    Hot Meal
   0425
06/20/2018
                Welfare Check          WSL
   0425
06/20/2018
                Welfare Check          WSL
   1006
06/20/2018
                Welfare Check          WSL
   1111
06/20/2018
                Welfare Check          WSL
   1115
06/20/2018
             Served meal(Accepted)     WSL                    Hot Meal
   1115
06/20/2018
                Welfare Check          WSL                    doing well
   1248
06/20/2018                                                    Cold Meal - meal accepted/requested cold
             Served meal(Accepted)     WSL
   1248                                                       meal
06/20/2018
                Welfare Check          WSL                    subject is doing well
   1355
06/20/2018
                Welfare Check          WSL
   1700
06/20/2018
                Welfare Check          WSL
   1800
06/20/2018
                Welfare Check          WSL
   1900
06/20/2018
                Welfare Check          WSL
   1917
06/20/2018
             Served meal(Accepted)     WSL                    Cold Meal
   1917
06/20/2018
              Processing Complete      WSL
   1944
06/20/2018
                Welfare Check          WSL
   2000
06/21/2018
                Welfare Check          WSL
   0508
06/21/2018
             Served meal(Accepted)     WSL                    Cold Meal
   0508
06/21/2018
                Welfare Check          WSL
   0700
06/21/2018
                Welfare Check          WSL
   0714
06/21/2018
                Welfare Check          WSL
   0815


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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/21/2018                                                           Hot Meal - Sandwich for adults, warm
               Served meal(Accepted)          WSL
   0815                                                              burritos for children.
06/21/2018
                   Welfare Check              WSL
   0816
06/21/2018
                   Welfare Check              WSL
   0955
06/21/2018
                   Welfare Check              WSL
   1239
06/21/2018                                                           Hot Meal - burritos and juices for children
               Served meal(Accepted)          WSL
   1239                                                              and sandwiches for adults
06/21/2018
                   Welfare Check              WSL
   1338
06/21/2018
              ORR Placement Received          WSL                    SWK Casa Padre
   1438
06/21/2018
                   Welfare Check              WSL
   1721
06/21/2018
             Snacks, Milk, Juice Provided     WSL                    juice and snack provided
   1721
06/21/2018
                   Welfare Check              WSL
   1722
06/21/2018
               Served meal(Accepted)          WSL                    Cold Meal - sandwich served
   1722
06/21/2018
                   Welfare Check              WSL
   1749
06/21/2018
               Served meal(Accepted)          WSL                    Cold Meal - meal, juice, snack
   1749
06/21/2018
                  Shower Provided             WSL                    none available
   1753
06/21/2018
                   Welfare Check              WSL
   1900
06/22/2018
             Snacks, Milk, Juice Provided     WSL
   0157
06/22/2018
               Served meal(Accepted)          WSL                    Hot Meal
   0157
06/22/2018
                   Welfare Check              WSL
   0157
06/22/2018
                   Welfare Check              WSL
   1004
06/22/2018
               Served meal(Accepted)          WSL                    Cold Meal
   1004
06/22/2018
                   Welfare Check              WSL
   1045


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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/22/2018
             Served meal(Accepted)     WSL                    Hot Meal
   1045
06/22/2018
                Perm Book Out          WSL
   1250




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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/26/2018
                        Arrest                 N/A
   1500
06/26/2018
                       Book In                 RGC
   1656
06/26/2018
                    Welfare Check              RGC
   1737
06/26/2018
                Served meal(Accepted)          RGC                    Cold Meal
   1737
06/26/2018
               FOJC and ORR Notified           RGC
   1813
06/26/2018
                 UAC Video Shown               RGC
   1907
06/27/2018
                      In Transit               RGC
   0211
06/27/2018
                      Received                 RGV
   0326
06/27/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0335                Provided
06/27/2018
               FOJC and ORR Notified           RGV
   0335
06/27/2018
             Medical Screening Completed       RGV
   0335
06/27/2018
                    Welfare Check              RGV
   0335
06/27/2018
             Snacks, Milk, Juice Provided      RGV
   0335
                                                                      Detainee could not be showered at this time
06/27/2018                                                            since time of arrival did not fall within the
                   Shower Provided             RGV
   0335                                                               provider's hours of operation. Detainee will
                                                                      be showered once operations resume.
06/27/2018
                    Welfare Check              RGV
   0441
06/27/2018
                    Welfare Check              RGV
   0500
06/27/2018
                    Welfare Check              RGV
   0605
06/27/2018
                    Welfare Check              RGV
   0700
06/27/2018
                   Shower Provided             RGV
   0704



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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/27/2018
                   Welfare Check              RGV
   0817
06/27/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0817
06/27/2018
                   Welfare Check              RGV
   0820
06/27/2018
                Processing Complete           RGV
   1124
06/27/2018
                   Welfare Check              RGV
   1402
06/27/2018
                   Welfare Check              RGV
   1405
06/27/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1405
06/27/2018
                   Welfare Check              RGV
   1517
06/27/2018
                   Welfare Check              RGV
   1643
06/27/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1643
06/27/2018
                   Welfare Check              RGV
   1715
06/27/2018
                 UAC Video Shown              RGV
   1715
06/27/2018
                   Welfare Check              RGV
   1806
06/27/2018
                   Welfare Check              RGV
   1906
06/27/2018
                   Telephone Used             RGV
   1907
06/27/2018
             Snacks, Milk, Juice Provided     RGV
   2009
06/27/2018
                   Welfare Check              RGV
   2009
06/27/2018
                   Welfare Check              RGV
   2107
06/27/2018
                   Welfare Check              RGV
   2209
06/27/2018
                   Welfare Check              RGV
   2315
06/27/2018
                   Welfare Check              RGV
   2322


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                                      Station /
Date/Time           Activity                      Agent Name                   Comments
                                      Facility
06/28/2018
                 Welfare Check          RGV
   0007
06/28/2018
                 Welfare Check          RGV
   0113
06/28/2018
                 Welfare Check          RGV
   0300
06/28/2018
                 Welfare Check          RGV
   0306
06/28/2018
                 Welfare Check          RGV
   0424
06/28/2018
                 Welfare Check          RGV
   0652
06/28/2018
                 Welfare Check          RGV
   0700
06/28/2018
               UAC Video Shown          RGV
   0700
06/28/2018
              Served meal(Accepted)     RGV                    Hot Meal
   0700
06/28/2018
                 Welfare Check          RGV
   0701
06/28/2018
                 Welfare Check          RGV
   0800
06/28/2018
                 Welfare Check          RGV
   0900
06/28/2018
                 Welfare Check          RGV
   1001
06/28/2018
                 Welfare Check          RGV
   1100
06/28/2018
                 Welfare Check          RGV
   1200
06/28/2018
              Served meal(Accepted)     RGV                    Hot Meal
   1202
06/28/2018
               UAC Video Shown          RGV
   1202
06/28/2018
             ORR Placement Received     RGV                    SWK Casa Padre
   1210
06/28/2018
                 Welfare Check          RGV
   1340
06/28/2018
                 Welfare Check          RGV
   1701




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                                 Station /
Date/Time         Activity                   Agent Name             Comments
                                 Facility
06/28/2018
               Perm Book Out       RGV
   1720




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                                           Subject Activity Log


                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
01/25/2018
                        Arrest                N/A
   1110
01/25/2018
                       Book In                RGV
   1342
01/25/2018
                    Welfare Check             RGV
   1400
01/25/2018
                    Welfare Check             RGV
   1401
01/25/2018
                    Welfare Check             RGV
   1402
01/25/2018
                    Welfare Check             RGV
   1433
01/25/2018
                    Welfare Check             RGV
   1516
01/25/2018
                 UAC Video Shown              RGV
   1520
01/25/2018
                    Welfare Check             RGV
   1549
01/25/2018
                Served meal(Accepted)         RGV                    Cold Meal
   1549
01/25/2018
               FOJC and ORR Notified          RGV
   1618
01/25/2018
                    Welfare Check             RGV
   1643
01/25/2018
                Served meal(Accepted)         RGV                    Hot Meal
   1643
01/25/2018
                 UAC Video Shown              RGV
   1655
01/25/2018
                    Welfare Check             RGV
   1658
01/25/2018
              ORR Placement Received          RGV                    SWK Casa Padre
   1730
01/25/2018
               Bodily Cleansing Product       RGV
   1749
01/25/2018
               Dental Hygiene Product         RGV
   1749
01/25/2018
             Medical Screening Completed      RGV
   1749
01/25/2018
                    Welfare Check             RGV
   1749



ELMER B                                                                          Printed:      8/17/18
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Event:
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
01/25/2018
                   Shower Provided            RGV
   1749
01/25/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   1749                Provided
01/25/2018
                   Telephone Used             RGV
   1844
01/25/2018
                    Welfare Check             RGV
   1925
01/25/2018
                    Welfare Check             RGV
   2018
01/25/2018
                    Welfare Check             RGV
   2104
01/25/2018
                    Welfare Check             RGV
   2149
01/25/2018
                Served meal(Accepted)         RGV                    Cold Meal - snack provided
   2149
01/25/2018
                    Welfare Check             RGV
   2204
01/25/2018
                    Welfare Check             RGV
   2215
01/25/2018
                    Welfare Check             RGV
   2313
01/25/2018
                    Welfare Check             RGV
   2334
01/25/2018
                    Welfare Check             RGV
   2337
01/26/2018
                    Welfare Check             RGV
   0106
01/26/2018
                    Welfare Check             RGV
   0249
01/26/2018
                    Welfare Check             RGV
   0250
01/26/2018
                    Welfare Check             RGV
   0348
01/26/2018
                    Welfare Check             RGV
   0355
01/26/2018
                Served meal(Accepted)         RGV                    Cold Meal
   0355
01/26/2018
                    Welfare Check             RGV
   0700
01/26/2018
                Served meal(Accepted)         RGV                    Hot Meal
   0700


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                                           Station /
Date/Time             Activity                         Agent Name                  Comments
                                           Facility
01/26/2018                                                          Minor was shown the Know what to expect
                 UAC Video Shown             RGV
   0702                                                             video.
01/26/2018
                   Welfare Check             RGV
   0800
01/26/2018
                 Processing Complete         RGV
   0814
01/26/2018
                   Welfare Check             RGV
   0900
01/26/2018
                   Welfare Check             RGV
   1000
01/26/2018
                   Welfare Check             RGV
   1100
01/26/2018
             Medical Screening Completed     RGV                    screened for departure
   1112
01/26/2018
                   Perm Book Out             RGV
   1115




ELMER B                                                                       Printed:       8/17/18
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                                  #:24501
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                                  #:24502
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                                  #:24503
Case 2:85-cv-04544-DMG-AGR Document 475-7 Filed 08/24/18 Page 103 of 165 Page ID
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                                  #:24507
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                 SBJLOC_BOOK_IN      SBJLOC_BOOK_OUT
SITE CELL NAME         DT                   DT       CIV_NAME                      AGE EVNT_NBR   AR_REPORT_DTTM COMP AMENITIES                                           COMMENTS




FLF
FLF              6/12/2018 5:58:15PM 6/14/2018 10:13:00PMF             SILVIA      33             6/12/2018 3:38:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
FLF              6/12/2018 5:59:02PM 6/13/2018 12:24:00PME      KATHERINE          16             6/12/2018 3:38:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
FLF              6/12/2018 5:58:15PM 6/14/2018 10:13:00PMF             SILVIA      33             6/12/2018 7:40:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
FLF              6/12/2018 5:59:02PM 6/13/2018 12:24:00PME      KATHERINE          16             6/12/2018 7:40:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
FLF              6/12/2018 5:58:15PM 6/14/2018 10:13:00PMF             SILVIA      33             6/12/2018 8:52:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
FLF              6/12/2018 5:59:02PM 6/13/2018 12:24:00PME      KATHERINE          16             6/12/2018 8:52:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
FLF              6/12/2018 5:58:15PM 6/14/2018 10:13:00PMF             SILVIA      33             6/12/2018 8:47:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
FLF              6/12/2018 5:59:02PM 6/13/2018 12:24:00PME      KATHERINE          16             6/12/2018 8:47:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
FLF              6/12/2018 5:58:15PM 6/14/2018 10:13:00PMF             SILVIA      33             6/12/2018 11 03:00PM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
FLF              6/12/2018 5:59:02PM 6/13/2018 12:24:00PME      KATHERINE          16             6/12/2018 11 03:00PM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
FLF              6/12/2018 5:58:15PM 6/14/2018 10:13:00PMF             SILVIA      33             6/13/2018 7:13:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
FLF              6/12/2018 5:59:02PM 6/13/2018 12:24:00PME      KATHERINE          16             6/13/2018 7:13:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
FLF              6/12/2018 5:58:15PM 6/14/2018 10:13:00PMF             SILVIA      33             6/13/2018 2:46:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
FLF              6/12/2018 5:59:02PM 6/13/2018 12:24:00PME      KATHERINE          16             6/13/2018 2:46:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
FLF              6/12/2018 5:58:15PM 6/14/2018 10:13:00PMF            , SILVIA     33             6/14/2018 12 02:00AM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
FLF              6/12/2018 5:58:15PM 6/14/2018 10:13:00PMF             SILVIA      33             6/14/2018 6:53:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
FLF              6/12/2018 5:58:15PM 6/14/2018 10:13:00PM              SILVIA      33             6/14/2018 5:34:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
FLF              6/12/2018 5:58:15PM 6/14/2018 10:13:00PMF             SILVIA      33             6/14/2018 11:36:00PM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
MCS
MCS              5/15/2018 1:28:09PM 5/16/2018 1:14:00AM O   FAT MA                27             5/15/2018 4:24:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y
MCS              5/15/2018 1:28:46PM 5/16/2018 1:14:00AM M              , ASHLEY    8             5/15/2018 4:24:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y
MCS              5/15/2018 1:28:09PM 5/16/2018 1:14:00AM O   FAT MA                27             5/15/2018 2:45:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y
MCS              5/15/2018 1:28:46PM 5/16/2018 1:14:00AM M               ASHLEY     8             5/15/2018 2:45:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y
MCS              5/15/2018 1:28:09PM 5/16/2018 1:14:00AM O   FAT MA                27             5/15/2018 11 04:00PM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y
MCS              5/15/2018 1:28:46PM 5/16/2018 1:14:00AM M               ASHLEY     8             5/15/2018 11 04:00PM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y
MCS              5/19/2018 4:20:15PM 5/20/2018 12:23:00AMM       , DORIS           41             5/19/2018 3:30:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y




                                                                                                                               12
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                 SBJLOC_BOOK_IN      SBJLOC_BOOK_OUT
SITE CELL NAME         DT                   DT       CIV_NAME                           AGE EVNT_NBR   AR_REPORT_DTTM COMP AMENITIES                                           COMMENTS
MCS              5/19/2018 4:21:21PM 5/20/2018 12:23:00AMZ            JORDAN             2             5/19/2018 3:30:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              5/19/2018 4:20:15PM 5/20/2018 12:23:00AMM         DORIS                41             5/20/2018 10:47:00AM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              5/19/2018 4:21:21PM 5/20/2018 12:23:00AMZ            JORDAN             2             5/20/2018 10:47:00AM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              5/29/2018 3:26:14AM 5/29/2018 8:48:00AM R       MARIA                  35             5/29/2018 3:31:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              5/29/2018 3:32:42AM 5/29/2018 8:48:00AM P      BLANCA                  17             5/29/2018 3:31:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/12/2018 4:26:11PM 6/12/2018 11:29:00PMP            EYDI              36             6/12/2018 4:08:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/12/2018 4:26:48PM 6/12/2018 11:29:00PMP            KENSY              5             6/12/2018 4:08:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/12/2018 4:26:11PM 6/12/2018 11:29:00PMP            EYDI              36             6/12/2018 2:11:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/12/2018 4:26:48PM 6/12/2018 11:29:00PMP            KENSY              5             6/12/2018 2:11:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/13/2018 12:28:28AM6/13/2018 11:32:00AMS   SANDRA                     32             6/13/2018 3:15:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/13/2018 8:32:48PM 6/14/2018 9:45:00PM D             DAVID            15             6/13/2018 3:15:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/13/2018 8:33:12PM 6/14/2018 9:45:00PM D             CESAR            12             6/13/2018 3:15:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/13/2018 11:57:12PM6/15/2018 12:14:00AMR        KEVIN                 17             6/13/2018 3:15:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/13/2018 11:57:44PM6/15/2018 12:14:00AM                JUSTIN         13             6/13/2018 3:15:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/13/2018 12:28:28AM6/13/2018 11:32:00AMS   SANDRA                     32             6/13/2018 5:49:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/13/2018 8:32:48PM 6/14/2018 9:45:00PM D             DAVID            15             6/13/2018 5:49:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/13/2018 8:33:12PM 6/14/2018 9:45:00PM D             CESAR            12             6/13/2018 5:49:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/13/2018 11:57:12PM6/15/2018 12:14:00AMR        KEVIN                 17             6/13/2018 5:49:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/13/2018 11:57:44PM6/15/2018 12:14:00AM                JUSTIN         13             6/13/2018 5:49:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/13/2018 8:32:48PM 6/14/2018 9:45:00PM D             DAVID            15             6/14/2018 2:15:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/13/2018 8:33:12PM 6/14/2018 9:45:00PM D             CESAR            12             6/14/2018 2:15:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/13/2018 11:57:12PM6/15/2018 12:14:00AMR        KEVIN                 17             6/14/2018 2:15:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/13/2018 11:57:44PM6/15/2018 12:14:00AMG               JUSTIN         13             6/14/2018 2:15:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/14/2018 12:10 00AM6/14/2018 12:13:00AMR             CAROL            39             6/14/2018 2:15:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

MCS              6/14/2018 12:10 00AM6/14/2018 12:13:00AMH             FREDERICK         4             6/14/2018 2:15:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

MCS              6/13/2018 11:57:12PM6/15/2018 12:14:00AMR       , KEVIN                17             6/15/2018 1:25:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/13/2018 11:57:44PM6/15/2018 12:14:00AM                JUSTIN         13             6/15/2018 1:25:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/15/2018 6:33:29PM 6/15/2018 11:14:00PMM                   BRISEYDA   22             6/15/2018 1:25:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/15/2018 6:34:31PM 6/15/2018 11:14:00PMA            DANIELLA           2             6/15/2018 1:25:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/15/2018 7:36:01PM 6/15/2018 11:14:00PMF       BRIDIS                 23             6/15/2018 1:25:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/15/2018 7:36:35PM 6/15/2018 11:14:00PMF       , SANDER                3             6/15/2018 1:25:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/13/2018 11:57:12PM6/15/2018 12:14:00AMR        KEVIN                 17             6/15/2018 4:37:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/13/2018 11:57:44PM6/15/2018 12:14:00AMG               JUSTIN         13             6/15/2018 4:37:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/15/2018 6:33:29PM 6/15/2018 11:14:00PMM                   BRISEYDA   22             6/15/2018 4:37:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/15/2018 6:34:31PM 6/15/2018 11:14:00PMA            DANIELLA           2             6/15/2018 4:37:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y




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                         Case 2:85-cv-04544-DMG-AGR Document 475-7 Filed 08/24/18 Page 150 of 165 Page ID
7/26/2018                                                  #:24551
                 SBJLOC_BOOK_IN      SBJLOC_BOOK_OUT
SITE CELL NAME         DT                   DT       CIV_NAME                           AGE EVNT_NBR   AR_REPORT_DTTM COMP AMENITIES                                           COMMENTS
MCS              6/15/2018 7:36:01PM 6/15/2018 11:14:00PMF             BRIDIS           23             6/15/2018 4:37:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/15/2018 7:36:35PM 6/15/2018 11:14:00PMF             SANDER            3             6/15/2018 4:37:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/20/2018 7:55:42PM 6/22/2018 1:09:00AM P             ANA              37             6/20/2018 2:11:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/20/2018 7:55:42PM 6/22/2018 1:09:00AM P             ANA              37             6/20/2018 2:11:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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MCS              6/20/2018 7:56:53PM 6/22/2018 1:09:00AM L            ANDREA            11             6/20/2018 2:11:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/20/2018 7:56:53PM 6/22/2018 1:09:00AM L            ANDREA            11             6/20/2018 2:11:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/20/2018 7:55:42PM 6/22/2018 1:09:00AM P             ANA              37             6/21/2018 2:48:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/20/2018 7:55:42PM 6/22/2018 1:09:00AM P             ANA              37             6/21/2018 2:48:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/20/2018 7:56:53PM 6/22/2018 1:09:00AM L            ANDREA            11             6/21/2018 2:48:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/20/2018 7:56:53PM 6/22/2018 1:09:00AM L            ANDREA            11             6/21/2018 2:48:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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MCS              6/20/2018 7:55:42PM 6/22/2018 1:09:00AM P             ANA              37             6/22/2018 7:14:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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MCS              6/20/2018 7:55:42PM 6/22/2018 1:09:00AM P             ANA              37             6/22/2018 7:14:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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MCS              6/20/2018 7:56:53PM 6/22/2018 1:09:00AM L            ANDREA            11             6/22/2018 7:14:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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MCS              6/20/2018 7:56:53PM 6/22/2018 1:09:00AM L            ANDREA            11             6/22/2018 7:14:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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MCS              6/20/2018 7:55:42PM 6/22/2018 1:09:00AM P             ANA              37             6/22/2018 4:03:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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MCS              6/20/2018 7:55:42PM 6/22/2018 1:09:00AM P             ANA              37             6/22/2018 4:03:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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MCS              6/20/2018 7:56:53PM 6/22/2018 1:09:00AM L            ANDREA            11             6/22/2018 4:03:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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MCS              6/20/2018 7:56:53PM 6/22/2018 1:09:00AM L            ANDREA            11             6/22/2018 4:03:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/25/2018 4:28:25AM 6/25/2018 7:02:00PM R   DILSIA                     36             6/25/2018 3:05:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/25/2018 4:28:25AM 6/25/2018 7:02:00PM R   DILSIA                     36             6/25/2018 3:05:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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MCS              6/25/2018 4:28:25AM 6/25/2018 7:02:00PM R   DILSIA                     36             6/25/2018 3:05:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/25/2018 4:30:18AM 6/25/2018 7:02:00PM O            ASHLEY            12             6/25/2018 3:05:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/25/2018 4:28:25AM 6/25/2018 7:02:00PM R   DILSIA                     36             6/25/2018 3:17:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/25/2018 4:28:25AM 6/25/2018 7:02:00PM R   DILSIA                     36             6/25/2018 3:17:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
MCS              6/25/2018 4:28:25AM 6/25/2018 7:02:00PM R   DILSIA                     36             6/25/2018 3:17:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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MCS              6/25/2018 4:30:18AM 6/25/2018 7:02:00PM O            ASHLEY            12             6/25/2018 3:17:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
RGC
RGC              5/25/2018 4:50:30PM 5/27/2018 7:58:00AM F                      ANGEL   13             5/25/2018 7:20:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
RGC              5/25/2018 4:51:41PM 5/27/2018 7:58:00AM H               PATRICIA       43             5/25/2018 7:20:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
RGC              5/25/2018 4:50:30PM 5/27/2018 7:58:00AM F                      ANGEL   13             5/25/2018 2:52:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
RGC              5/25/2018 4:51:41PM 5/27/2018 7:58:00AM H               PATRICIA       43             5/25/2018 2:52:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
RGC              5/25/2018 4:50:30PM 5/27/2018 7:58:00AM F                      ANGEL   13             5/25/2018 10:43:00PM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
RGC              5/25/2018 4:51:41PM 5/27/2018 7:58:00AM H               PATRICIA       43             5/25/2018 10:43:00PM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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RGC              5/25/2018 4:50:30PM 5/27/2018 7:58:00AM F                      ANGEL   13             5/26/2018 6:50:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
RGC              5/25/2018 4:51:41PM 5/27/2018 7:58:00AM H               PATRICIA       43             5/26/2018 6:50:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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                              Case 2:85-cv-04544-DMG-AGR Document 475-7 Filed 08/24/18 Page 151 of 165 Page ID
7/26/2018                                                       #:24552
                      SBJLOC_BOOK_IN      SBJLOC_BOOK_OUT
SITE CELL NAME              DT                   DT       CIV_NAME                     AGE EVNT_NBR   AR_REPORT_DTTM COMP AMENITIES                                           COMMENTS
RGC                   5/25/2018 4:50:30PM 5/27/2018 7:58:00AM F                ANGEL   13             5/26/2018 3:15:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                VENT-Y
RGC                   5/25/2018 4:51:41PM 5/27/2018 7:58:00AM H       PATRICIA         43             5/26/2018 3:15:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                VENT-Y
RGC                   5/25/2018 4:50:30PM 5/27/2018 7:58:00AM F                ANGEL   13             5/27/2018 12 05:00AM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                VENT-Y
RGC                   5/25/2018 4:51:41PM 5/27/2018 7:58:00AM H       PATRICIA         43             5/27/2018 12 05:00AM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                VENT-Y
RGC                   5/25/2018 4:50:30PM 5/27/2018 7:58:00AM F                ANGEL   13             5/27/2018 3:16:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                VENT-Y
RGC                   5/25/2018 4:51:41PM 5/27/2018 7:58:00AM H       PATRICIA         43             5/27/2018 3:16:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                VENT-Y
RGC                   5/25/2018 4:50:30PM 5/27/2018 7:58:00AM F                ANGEL   13             5/27/2018 6:53:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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RGC                   5/25/2018 4:51:41PM 5/27/2018 7:58:00AM         PATRICIA         43             5/27/2018 6:53:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                VENT-Y
RGC                   5/25/2018 4:50:30PM 5/27/2018 7:58:00AM F                ANGEL   13             5/27/2018 3:16:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                VENT-Y
RGC                   5/25/2018 4:51:41PM 5/27/2018 7:58:00AM H       PATRICIA         43             5/27/2018 3:16:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                VENT-Y
RGV
RGV Not in Cell       5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E         IRIS             28             5/2/2018 12:47:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E         IRIS             28             5/2/2018 12:47:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV 07                5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E         IRIS             28             5/2/2018 12:47:00AM   Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
                                                                                                                                VENT-Y WF-Y
RGV B1--Common Area   5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E         IRIS             28             5/2/2018 12:47:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                VENT-Y
RGV Not in Cell       5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G         JOSUE            10             5/2/2018 12:47:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV G4                5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G         JOSUE            10             5/2/2018 12:47:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV G3                5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G         JOSUE            10             5/2/2018 12:47:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV 02                5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G        , JOSUE           10             5/2/2018 12:47:00AM   Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
                                                                                                                                VENT-Y WF-Y
RGV B7                5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E         IRIS             28             5/2/2018 11:26:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E         IRIS             28             5/2/2018 11:26:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                VENT-Y
RGV 07                5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E         IRIS             28             5/2/2018 11:26:00PM   Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
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RGV Not in Cell       5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E         IRIS             28             5/2/2018 11:26:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV G3                5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G         JOSUE            10             5/2/2018 11:26:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G         JOSUE            10             5/2/2018 11:26:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV 02                5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G         JOSUE            10             5/2/2018 11:26:00PM   Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
                                                                                                                                VENT-Y WF-Y
RGV G4                5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G         JOSUE            10             5/2/2018 11:26:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E         IRIS             28             5/3/2018 10:34:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV 07                5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E         IRIS             28             5/3/2018 10:34:00AM   Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
                                                                                                                                VENT-Y WF-Y
RGV B1--Common Area   5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E         IRIS             28             5/3/2018 10:34:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                VENT-Y
RGV Not in Cell       5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E         IRIS             28             5/3/2018 10:34:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G         JOSUE            10             5/3/2018 10:34:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV G3                5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G         JOSUE            10             5/3/2018 10:34:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV G4                5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G         JOSUE            10             5/3/2018 10:34:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV 02                5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G         JOSUE            10             5/3/2018 10:34:00AM   Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
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                             Case 2:85-cv-04544-DMG-AGR Document 475-7 Filed 08/24/18 Page 152 of 165 Page ID
7/26/2018                                                      #:24553
                      SBJLOC_BOOK_IN     SBJLOC_BOOK_OUT
SITE CELL NAME              DT                  DT       CIV_NAME                  AGE EVNT_NBR   AR_REPORT_DTTM COMP AMENITIES                                           COMMENTS
RGV B1--Common Area   5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E             IRIS     28             5/3/2018 11:48:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y
RGV Not in Cell       5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E             IRIS     28             5/3/2018 11:48:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E             IRIS     28             5/3/2018 11:48:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV 07                5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E             IRIS     28             5/3/2018 11:48:00PM   Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
RGV G4                5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G             JOSUE    10             5/3/2018 11:48:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV 02                5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G             JOSUE    10             5/3/2018 11:48:00PM   Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
RGV G3                5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G             JOSUE    10             5/3/2018 11:48:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G            , JOSUE   10             5/3/2018 11:48:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E             IRIS     28             5/4/2018 1:16:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E             IRIS     28             5/4/2018 1:16:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E             IRIS     28             5/4/2018 1:16:00AM    Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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RGV 07                5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E             IRIS     28             5/4/2018 1:16:00AM    Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
RGV G4                5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G             JOSUE    10             5/4/2018 1:16:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV 02                5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G             JOSUE    10             5/4/2018 1:16:00AM    Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
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RGV G3                5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G             JOSUE    10             5/4/2018 1:16:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G             JOSUE    10             5/4/2018 1:16:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV 07                5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E             IRIS     28             5/5/2018 1:17:00AM    Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
RGV B1--Common Area   5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E             IRIS     28             5/5/2018 1:17:00AM    Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y
RGV Not in Cell       5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E             IRIS     28             5/5/2018 1:17:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E             IRIS     28             5/5/2018 1:17:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV G3                5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G             JOSUE    10             5/5/2018 1:17:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV G4                5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G             JOSUE    10             5/5/2018 1:17:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV 02                5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G             JOSUE    10             5/5/2018 1:17:00AM    Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
RGV Not in Cell       5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G             JOSUE    10             5/5/2018 1:17:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M            ANA      26             5/5/2018 1:17:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV 04                5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M            ANA      26             5/5/2018 1:17:00AM    Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
RGV B1--Common Area   5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M            ANA      26             5/5/2018 1:17:00AM    Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y
RGV B7                5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R   ASHLI              6             5/5/2018 1:17:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV 04                5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R   ASHLI              6             5/5/2018 1:17:00AM    Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
RGV B1--Common Area   5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R   ASHLI              6             5/5/2018 1:17:00AM    Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y
RGV 07                5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E             IRIS     28             5/5/2018 11:25:00PM   Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y WF-Y
RGV B1--Common Area   5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E             IRIS     28             5/5/2018 11:25:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                            VENT-Y
RGV Not in Cell       5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E             IRIS     28             5/5/2018 11:25:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/2/2018 8:03:04PM 5/5/2018 2:14:00PM E             IRIS     28             5/5/2018 11:25:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G             JOSUE    10             5/5/2018 11:25:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y




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                             Case 2:85-cv-04544-DMG-AGR Document 475-7 Filed 08/24/18 Page 153 of 165 Page ID
7/26/2018                                                      #:24554
                      SBJLOC_BOOK_IN     SBJLOC_BOOK_OUT
SITE CELL NAME              DT                  DT       CIV_NAME                AGE EVNT_NBR   AR_REPORT_DTTM COMP AMENITIES                                           COMMENTS
RGV G3                5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G            JOSUE   10             5/5/2018 11:25:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV 02                5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G            JOSUE   10             5/5/2018 11:25:00PM   Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
                                                                                                                          VENT-Y WF-Y
RGV G4                5/2/2018 8:03:27PM 5/5/2018 2:14:00PM G            JOSUE   10             5/5/2018 11:25:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M            ANA    26             5/5/2018 11:25:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                          VENT-Y
RGV 04                5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M            ANA    26             5/5/2018 11:25:00PM   Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
                                                                                                                          VENT-Y WF-Y
RGV B7                5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M            ANA    26             5/5/2018 11:25:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R   ASHLI            6             5/5/2018 11:25:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                          VENT-Y
RGV B7                5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R   ASHLI            6             5/5/2018 11:25:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV 04                5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R   ASHLI            6             5/5/2018 11:25:00PM   Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
                                                                                                                          VENT-Y WF-Y
RGV 04                5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M            ANA    26             5/6/2018 2:44:00PM    Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
                                                                                                                          VENT-Y WF-Y
RGV B7                5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M            ANA    26             5/6/2018 2:44:00PM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M           , ANA   26             5/6/2018 2:44:00PM    Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                          VENT-Y
RGV B1--Common Area   5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R   ASHLI            6             5/6/2018 2:44:00PM    Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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RGV B7                5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R   ASHLI            6             5/6/2018 2:44:00PM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV 04                5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R   ASHLI            6             5/6/2018 2:44:00PM    Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
                                                                                                                          VENT-Y WF-Y
RGV B7                5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M            ANA    26             5/6/2018 10:56:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M            ANA    26             5/6/2018 10:56:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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RGV 04                5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M            ANA    26             5/6/2018 10:56:00PM   Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
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RGV B7                5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R   ASHLI            6             5/6/2018 10:56:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R   ASHLI            6             5/6/2018 10:56:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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RGV 04                5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R   ASHLI            6             5/6/2018 10:56:00PM   Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
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RGV B1--Common Area   5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M            ANA    26             5/7/2018 8:19:00AM    Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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RGV B7                5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M            ANA    26             5/7/2018 8:19:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV 04                5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M            ANA    26             5/7/2018 8:19:00AM    Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
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RGV B7                5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R   ASHLI            6             5/7/2018 8:19:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV 04                5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R   ASHLI            6             5/7/2018 8:19:00AM    Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
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RGV B1--Common Area   5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R   ASHLI            6             5/7/2018 8:19:00AM    Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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RGV B1--Common Area   5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M            ANA    26             5/7/2018 2:44:00PM    Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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RGV 04                5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M            ANA    26             5/7/2018 2:44:00PM    Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
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RGV B7                5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M            ANA    26             5/7/2018 2:44:00PM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R   ASHLI            6             5/7/2018 2:44:00PM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV 04                5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R   ASHLI            6             5/7/2018 2:44:00PM    Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
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RGV B1--Common Area   5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R   ASHLI            6             5/7/2018 2:44:00PM    Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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RGV B1--Common Area   5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M           , ANA   26             5/8/2018 4:15:00PM    Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                          VENT-Y
RGV B7                5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M           , ANA   26             5/8/2018 4:15:00PM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y




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                              Case 2:85-cv-04544-DMG-AGR Document 475-7 Filed 08/24/18 Page 154 of 165 Page ID
7/26/2018                                                       #:24555
                      SBJLOC_BOOK_IN     SBJLOC_BOOK_OUT
SITE CELL NAME              DT                  DT       CIV_NAME                       AGE EVNT_NBR   AR_REPORT_DTTM COMP AMENITIES                                           COMMENTS
RGV 04                5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M               ANA        26             5/8/2018 4:15:00PM    Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y WF-Y
RGV B7                5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R    ASHLI                  6             5/8/2018 4:15:00PM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV 04                5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R    ASHLI                  6             5/8/2018 4:15:00PM    Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y WF-Y
RGV B1--Common Area   5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R    ASHLI                  6             5/8/2018 4:15:00PM    Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
RGV B7                5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M               ANA        26             5/9/2018 8:24:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M               ANA        26             5/9/2018 8:24:00AM    Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
RGV 04                5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M               ANA        26             5/9/2018 8:24:00AM    Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y WF-Y
RGV B7                5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R    ASHLI                  6             5/9/2018 8:24:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R    ASHLI                  6             5/9/2018 8:24:00AM    Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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RGV 04                5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R    ASHLI                  6             5/9/2018 8:24:00AM    Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y WF-Y
RGV B1--Common Area   5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M               ANA        26             5/9/2018 10:18:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
RGV B7                5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M               ANA        26             5/9/2018 10:18:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV 04                5/5/2018 9:05:00AM 5/9/2018 10:11:00AM M               ANA        26             5/9/2018 10:18:00AM   Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
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RGV B7                5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R    ASHLI                  6             5/9/2018 10:18:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV 04                5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R    ASHLI                  6             5/9/2018 10:18:00AM   Y   CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TOI-Y TPS-Y
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RGV B1--Common Area   5/5/2018 9:05:41AM 5/9/2018 10:11:00AM R    ASHLI                  6             5/9/2018 10:18:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
RGV B1--Common Area   5/16/2018 2:06:00AM 5/19/2018 3:53:00AM M                ASHLEY    8             5/16/2018 8:32:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
RGV Not in Cell       5/16/2018 2:06:00AM 5/19/2018 3:53:00AM O     FAT MA              27             5/16/2018 8:32:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       5/16/2018 2:06:00AM 5/19/2018 3:53:00AM M                ASHLEY    8             5/16/2018 8:32:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/16/2018 2:06:00AM 5/19/2018 3:53:00AM       FAT MA              27             5/16/2018 8:32:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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RGV B7                5/16/2018 2:06:00AM 5/19/2018 3:53:00AM O     FAT MA              27             5/16/2018 8:32:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/16/2018 2:06:00AM 5/19/2018 3:53:00AM M                ASHLEY    8             5/16/2018 8:32:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/16/2018 2:06:00AM 5/19/2018 3:53:00AM O     FAT MA              27             5/17/2018 7:11:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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RGV B7                5/16/2018 2:06:00AM 5/19/2018 3:53:00AM O     FAT MA              27             5/17/2018 7:11:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       5/16/2018 2:06:00AM 5/19/2018 3:53:00AM O     FAT MA              27             5/17/2018 7:11:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/16/2018 2:06:00AM 5/19/2018 3:53:00AM M                ASHLEY    8             5/17/2018 7:11:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/16/2018 2:06:00AM 5/19/2018 3:53:00AM M                ASHLEY    8             5/17/2018 7:11:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
RGV Not in Cell       5/16/2018 2:06:00AM 5/19/2018 3:53:00AM M                ASHLEY    8             5/17/2018 7:11:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/16/2018 2:06:00AM 5/19/2018 3:53:00AM O     FAT MA              27             5/17/2018 3:54:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/16/2018 2:06:00AM 5/19/2018 3:53:00AM O     FAT MA              27             5/17/2018 3:54:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
RGV B7                5/16/2018 2:06:00AM 5/19/2018 3:53:00AM M                ASHLEY    8             5/17/2018 3:54:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/16/2018 2:06:00AM 5/19/2018 3:53:00AM M                ASHLEY    8             5/17/2018 3:54:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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RGV Not in Cell       5/16/2018 2:06:00AM 5/19/2018 3:53:00AM M                ASHLEY    8             5/17/2018 3:54:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       5/16/2018 2:06:00AM 5/19/2018 3:53:00AM O     FAT MA              27             5/17/2018 3:54:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/16/2018 2:06:00AM 5/19/2018 3:53:00AM M                ASHLEY    8             5/18/2018 6:49:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y




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7/26/2018                                                       #:24556
                      SBJLOC_BOOK_IN     SBJLOC_BOOK_OUT
SITE CELL NAME              DT                  DT       CIV_NAME                   AGE EVNT_NBR   AR_REPORT_DTTM COMP AMENITIES                                           COMMENTS
RGV Not in Cell       5/16/2018 2:06:00AM 5/19/2018 3:53:00AM O   FAT MA            27             5/18/2018 6:49:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/16/2018 2:06:00AM 5/19/2018 3:53:00AM M            ASHLEY    8             5/18/2018 6:49:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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RGV Not in Cell       5/16/2018 2:06:00AM 5/19/2018 3:53:00AM M            ASHLEY    8             5/18/2018 6:49:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/16/2018 2:06:00AM 5/19/2018 3:53:00AM O   FAT MA            27             5/18/2018 6:49:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/16/2018 2:06:00AM 5/19/2018 3:53:00AM O   FAT MA            27             5/18/2018 6:49:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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RGV B7                5/16/2018 2:06:00AM 5/19/2018 3:53:00AM O   FAT MA            27             5/18/2018 4:17:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/16/2018 2:06:00AM 5/19/2018 3:53:00AM O   FAT MA            27             5/18/2018 4:17:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
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RGV Not in Cell       5/16/2018 2:06:00AM 5/19/2018 3:53:00AM M            ASHLEY    8             5/18/2018 4:17:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/16/2018 2:06:00AM 5/19/2018 3:53:00AM M            ASHLEY    8             5/18/2018 4:17:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                             VENT-Y
RGV Not in Cell       5/16/2018 2:06:00AM 5/19/2018 3:53:00AM O   FAT MA            27             5/18/2018 4:17:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/16/2018 2:06:00AM 5/19/2018 3:53:00AM M            ASHLEY    8             5/18/2018 4:17:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/16/2018 2:06:00AM 5/19/2018 3:53:00AM O   FAT MA            27             5/19/2018 4:14:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/16/2018 2:06:00AM 5/19/2018 3:53:00AM O   FAT MA            27             5/19/2018 4:14:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                             VENT-Y
RGV Not in Cell       5/16/2018 2:06:00AM 5/19/2018 3:53:00AM O   FAT MA            27             5/19/2018 4:14:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       5/16/2018 2:06:00AM 5/19/2018 3:53:00AM M            ASHLEY    8             5/19/2018 4:14:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/16/2018 2:06:00AM 5/19/2018 3:53:00AM M            ASHLEY    8             5/19/2018 4:14:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/16/2018 2:06:00AM 5/19/2018 3:53:00AM M            ASHLEY    8             5/19/2018 4:14:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                             VENT-Y
RGV B1--Common Area   5/19/2018 11:41 00PM5/20/2018 10:55:00AMM            ASHLEY    8             5/19/2018 4:14:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                             VENT-Y
RGV Not in Cell       5/19/2018 11:41 00PM5/20/2018 10:55:00AMO   FAT MA            27             5/19/2018 4:14:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       5/19/2018 11:41 00PM5/20/2018 10:55:00AMM            ASHLEY    8             5/19/2018 4:14:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/19/2018 11:41 00PM5/20/2018 10:55:00AMO   FAT MA            27             5/19/2018 4:14:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                             VENT-Y
RGV B7                5/19/2018 11:41 00PM5/20/2018 10:55:00AMO   FAT MA            27             5/19/2018 4:14:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/19/2018 11:41 00PM5/20/2018 10:55:00AMM            ASHLEY    8             5/19/2018 4:14:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/16/2018 2:06:00AM 5/19/2018 3:53:00AM O   FAT MA            27             5/19/2018 4:17:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                             VENT-Y
RGV Not in Cell       5/16/2018 2:06:00AM 5/19/2018 3:53:00AM M            ASHLEY    8             5/19/2018 4:17:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/16/2018 2:06:00AM 5/19/2018 3:53:00AM M            ASHLEY    8             5/19/2018 4:17:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/16/2018 2:06:00AM 5/19/2018 3:53:00AM M            ASHLEY    8             5/19/2018 4:17:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                             VENT-Y
RGV B7                5/16/2018 2:06:00AM 5/19/2018 3:53:00AM O   FAT MA            27             5/19/2018 4:17:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       5/16/2018 2:06:00AM 5/19/2018 3:53:00AM O   FAT MA            27             5/19/2018 4:17:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/19/2018 11:41 00PM5/20/2018 10:55:00AMM            ASHLEY    8             5/19/2018 4:17:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/19/2018 11:41 00PM5/20/2018 10:55:00AMM            ASHLEY    8             5/19/2018 4:17:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                             VENT-Y
RGV Not in Cell       5/19/2018 11:41 00PM5/20/2018 10:55:00AMM            ASHLEY    8             5/19/2018 4:17:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/19/2018 11:41 00PM5/20/2018 10:55:00AMO   FAT MA            27             5/19/2018 4:17:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       5/19/2018 11:41 00PM5/20/2018 10:55:00AMO   FAT MA            27             5/19/2018 4:17:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/19/2018 11:41 00PM5/20/2018 10:55:00AMO   FAT MA            27             5/19/2018 4:17:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                             VENT-Y
RGV Not in Cell       5/16/2018 2:06:00AM 5/19/2018 3:53:00AM O   FAT MA            27             5/19/2018 11 51:00PM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y




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                              Case 2:85-cv-04544-DMG-AGR Document 475-7 Filed 08/24/18 Page 156 of 165 Page ID
7/26/2018                                                       #:24557
                      SBJLOC_BOOK_IN      SBJLOC_BOOK_OUT
SITE CELL NAME              DT                   DT       CIV_NAME                    AGE EVNT_NBR   AR_REPORT_DTTM COMP AMENITIES                                           COMMENTS
RGV B1--Common Area   5/16/2018 2:06:00AM 5/19/2018 3:53:00AM     FAT MA              27             5/19/2018 11 51:00PM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV B7                5/16/2018 2:06:00AM 5/19/2018 3:53:00AM     FAT MA              27             5/19/2018 11 51:00PM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/16/2018 2:06:00AM 5/19/2018 3:53:00AM M              ASHLEY    8             5/19/2018 11 51:00PM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV B7                5/16/2018 2:06:00AM 5/19/2018 3:53:00AM M              ASHLEY    8             5/19/2018 11 51:00PM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       5/16/2018 2:06:00AM 5/19/2018 3:53:00AM M              ASHLEY    8             5/19/2018 11 51:00PM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/19/2018 11:41 00PM5/20/2018 10:55:00AMO   FAT MA              27             5/19/2018 11 51:00PM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV Not in Cell       5/19/2018 11:41 00PM5/20/2018 10:55:00AMM              ASHLEY    8             5/19/2018 11 51:00PM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/19/2018 11:41 00PM5/20/2018 10:55:00AMO   FAT MA              27             5/19/2018 11 51:00PM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/19/2018 11:41 00PM5/20/2018 10:55:00AMM              ASHLEY    8             5/19/2018 11 51:00PM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/19/2018 11:41 00PM5/20/2018 10:55:00AMM              ASHLEY    8             5/19/2018 11 51:00PM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV Not in Cell       5/19/2018 11:41 00PM5/20/2018 10:55:00AMO   FAT MA              27             5/19/2018 11 51:00PM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/19/2018 11:41 00PM5/20/2018 10:55:00AMM              ASHLEY    8             5/20/2018 3:38:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV Not in Cell       5/19/2018 11:41 00PM5/20/2018 10:55:00AMM              ASHLEY    8             5/20/2018 3:38:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/19/2018 11:41 00PM5/20/2018 10:55:00AMO   FAT MA              27             5/20/2018 3:38:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/19/2018 11:41 00PM5/20/2018 10:55:00AMM              ASHLEY    8             5/20/2018 3:38:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/19/2018 11:41 00PM5/20/2018 10:55:00AMO   FAT MA              27             5/20/2018 3:38:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV Not in Cell       5/19/2018 11:41 00PM5/20/2018 10:55:00AMO   FAT MA              27             5/20/2018 3:38:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Y1                5/20/2018 12:42 00AM5/23/2018 6:58:00PM Z            JORDAN      2             5/20/2018 3:38:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV Y1                5/20/2018 12:42 00AM5/23/2018 6:58:00PM M        DORIS          41             5/20/2018 3:38:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV B7                5/20/2018 12:42 00AM5/23/2018 6:58:00PM M        DORIS          41             5/20/2018 3:38:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/20/2018 12:42 00AM5/23/2018 6:58:00PM Z        , JORDAN        2             5/20/2018 3:38:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV B7                5/20/2018 12:42 00AM5/23/2018 6:58:00PM Z            JORDAN      2             5/20/2018 3:38:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/20/2018 12:42 00AM5/23/2018 6:58:00PM M        DORIS          41             5/20/2018 3:38:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV B1--Common Area   5/19/2018 11:41 00PM5/20/2018 10:55:00AMO   FAT MA              27             5/20/2018 4:00:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV B7                5/19/2018 11:41 00PM5/20/2018 10:55:00AMM              ASHLEY    8             5/20/2018 4:00:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       5/19/2018 11:41 00PM5/20/2018 10:55:00AMO   FAT MA              27             5/20/2018 4:00:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       5/19/2018 11:41 00PM5/20/2018 10:55:00AMM              ASHLEY    8             5/20/2018 4:00:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/19/2018 11:41 00PM5/20/2018 10:55:00AMO   FAT MA              27             5/20/2018 4:00:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/19/2018 11:41 00PM5/20/2018 10:55:00AMM              ASHLEY    8             5/20/2018 4:00:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV B7                5/20/2018 12:42 00AM5/23/2018 6:58:00PM M        DORIS          41             5/20/2018 4:00:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/20/2018 12:42 00AM5/23/2018 6:58:00PM Z            ORDAN       2             5/20/2018 4:00:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV B7                5/20/2018 12:42 00AM5/23/2018 6:58:00PM Z            JORDAN      2             5/20/2018 4:00:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Y1                5/20/2018 12:42 00AM5/23/2018 6:58:00PM Z            JORDAN      2             5/20/2018 4:00:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV B1--Common Area   5/20/2018 12:42 00AM5/23/2018 6:58:00PM M        DORIS          41             5/20/2018 4:00:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV Y1                5/20/2018 12:42 00AM5/23/2018 6:58:00PM M        DORIS          41             5/20/2018 4:00:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y




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                              Case 2:85-cv-04544-DMG-AGR Document 475-7 Filed 08/24/18 Page 157 of 165 Page ID
7/26/2018                                                       #:24558
                      SBJLOC_BOOK_IN      SBJLOC_BOOK_OUT
SITE CELL NAME              DT                   DT       CIV_NAME                   AGE EVNT_NBR   AR_REPORT_DTTM COMP AMENITIES                                           COMMENTS
RGV B7                5/20/2018 12:42 00AM5/23/2018 6:58:00PM M      DORIS           41             5/21/2018 12:10:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/20/2018 12:42 00AM5/23/2018 6:58:00PM Z      JORDAN           2             5/21/2018 12:10:00AM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                              VENT-Y
RGV Y1                5/20/2018 12:42 00AM5/23/2018 6:58:00PM Z      JORDAN           2             5/21/2018 12:10:00AM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                              VENT-Y
RGV B7                5/20/2018 12:42 00AM5/23/2018 6:58:00PM Z      JORDAN           2             5/21/2018 12:10:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/20/2018 12:42 00AM5/23/2018 6:58:00PM M      DORIS           41             5/21/2018 12:10:00AM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                              VENT-Y
RGV Y1                5/20/2018 12:42 00AM5/23/2018 6:58:00PM M      DORIS           41             5/21/2018 12:10:00AM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                              VENT-Y
RGV B1--Common Area   5/20/2018 12:42 00AM5/23/2018 6:58:00PM        JORDAN           2             5/21/2018 4:00:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                              VENT-Y
RGV Y1                5/20/2018 12:42 00AM5/23/2018 6:58:00PM        JORDAN           2             5/21/2018 4:00:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                              VENT-Y
RGV B7                5/20/2018 12:42 00AM5/23/2018 6:58:00PM Z      JORDAN           2             5/21/2018 4:00:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/20/2018 12:42 00AM5/23/2018 6:58:00PM M      DORIS           41             5/21/2018 4:00:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/20/2018 12:42 00AM5/23/2018 6:58:00PM M      DORIS           41             5/21/2018 4:00:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                              VENT-Y
RGV Y1                5/20/2018 12:42 00AM5/23/2018 6:58:00PM M      DORIS           41             5/21/2018 4:00:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                              VENT-Y
RGV B7                5/20/2018 12:42 00AM5/23/2018 6:58:00PM M      DORIS           41             5/21/2018 11:13:00PM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Y1                5/20/2018 12:42 00AM5/23/2018 6:58:00PM Z      JORDAN           2             5/21/2018 11:13:00PM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                              VENT-Y
RGV B1--Common Area   5/20/2018 12:42 00AM5/23/2018 6:58:00PM Z      JORDAN           2             5/21/2018 11:13:00PM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                              VENT-Y
RGV B1--Common Area   5/20/2018 12:42 00AM5/23/2018 6:58:00PM M      DORIS           41             5/21/2018 11:13:00PM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                              VENT-Y
RGV Y1                5/20/2018 12:42 00AM5/23/2018 6:58:00PM M      DORIS           41             5/21/2018 11:13:00PM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                              VENT-Y
RGV B7                5/20/2018 12:42 00AM5/23/2018 6:58:00PM Z      JORDAN           2             5/21/2018 11:13:00PM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                5/20/2018 12:42 00AM5/23/2018 6:58:00PM Z      JORDAN           2             5/22/2018 4:06:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/20/2018 12:42 00AM5/23/2018 6:58:00PM Z      JORDAN           2             5/22/2018 4:06:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                              VENT-Y
RGV B1--Common Area   5/20/2018 12:42 00AM5/23/2018 6:58:00PM M      DORIS           41             5/22/2018 4:06:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                              VENT-Y
RGV Y1                5/20/2018 12:42 00AM5/23/2018 6:58:00PM Z      JORDAN           2             5/22/2018 4:06:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                              VENT-Y
RGV B7                5/20/2018 12:42 00AM5/23/2018 6:58:00PM M      DORIS           41             5/22/2018 4:06:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Y1                5/20/2018 12:42 00AM5/23/2018 6:58:00PM M      DORIS           41             5/22/2018 4:06:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                              VENT-Y
RGV B1--Common Area   5/25/2018 1:19:00PM 5/26/2018 1:41:00PM M      DORIS           41             5/25/2018 4:31:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                              VENT-Y
RGV B1--Common Area   5/25/2018 1:19:00PM 5/26/2018 1:41:00PM Z      JORDAN           2             5/25/2018 4:31:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                              VENT-Y
RGV R5                5/27/2018 8:49:00AM 5/30/2018 10:06:00AMH      PATRICIA        43             5/27/2018 10 57:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       5/27/2018 8:49:00AM 5/30/2018 10:06:00AMH      PATRICIA        43             5/27/2018 10 57:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/27/2018 8:49:00AM 5/30/2018 10:06:00AMH      PATRICIA        43             5/27/2018 10 57:00AM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                              VENT-Y
RGV B1--Common Area   5/27/2018 8:49:00AM 5/30/2018 10:06:00AMH      PATRICIA        43             5/27/2018 10 57:00AM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                              VENT-Y
RGV Not in Cell       5/27/2018 8:49:00AM 5/30/2018 10:06:00AMF               NGEL   13             5/27/2018 10 57:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV G7                5/27/2018 8:49:00AM 5/30/2018 10:06:00AMF               NGEL   13             5/27/2018 10 57:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R5                5/27/2018 8:49:00AM 5/30/2018 10:06:00AMH      PATRICIA        43             5/27/2018 3:30:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       5/27/2018 8:49:00AM 5/30/2018 10:06:00AMF              ANGEL   13             5/27/2018 3:30:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/27/2018 8:49:00AM 5/30/2018 10:06:00AMH      PATRICIA        43             5/27/2018 3:30:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                              VENT-Y




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                              Case 2:85-cv-04544-DMG-AGR Document 475-7 Filed 08/24/18 Page 158 of 165 Page ID
7/26/2018                                                       #:24559
                      SBJLOC_BOOK_IN      SBJLOC_BOOK_OUT
SITE CELL NAME              DT                   DT       CIV_NAME                    AGE EVNT_NBR   AR_REPORT_DTTM COMP AMENITIES                                           COMMENTS
RGV G7                5/27/2018 8:49:00AM 5/30/2018 10:06:00AMF               ANGEL   13             5/27/2018 3:30:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/27/2018 8:49:00AM 5/30/2018 10:06:00AMH         PATRICIA      43             5/27/2018 3:30:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV Not in Cell       5/27/2018 8:49:00AM 5/30/2018 10:06:00AMH         PATRICIA      43             5/27/2018 3:30:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       5/27/2018 8:49:00AM 5/30/2018 10:06:00AMF               ANGEL   13             5/28/2018 9:52:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV G7                5/27/2018 8:49:00AM 5/30/2018 10:06:00AMF               ANGEL   13             5/28/2018 9:52:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/27/2018 8:49:00AM 5/30/2018 10:06:00AMH         PATRICIA      43             5/28/2018 9:52:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV Not in Cell       5/27/2018 8:49:00AM 5/30/2018 10:06:00AMH         PATRICIA      43             5/28/2018 9:52:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R5                5/27/2018 8:49:00AM 5/30/2018 10:06:00AMH         PATRICIA      43             5/28/2018 9:52:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/27/2018 8:49:00AM 5/30/2018 10:06:00AMH         PATRICIA      43             5/28/2018 9:52:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV G7                5/27/2018 8:49:00AM 5/30/2018 10:06:00AMF               ANGEL   13             5/29/2018 11:32:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       5/27/2018 8:49:00AM 5/30/2018 10:06:00AMH         PATRICIA      43             5/29/2018 11:32:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/27/2018 8:49:00AM 5/30/2018 10:06:00AMH         PATRICIA      43             5/29/2018 11:32:00AM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV R5                5/27/2018 8:49:00AM 5/30/2018 10:06:00AMH         PATRICIA      43             5/29/2018 11:32:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/27/2018 8:49:00AM 5/30/2018 10:06:00AMH         PATRICIA      43             5/29/2018 11:32:00AM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV Not in Cell       5/27/2018 8:49:00AM 5/30/2018 10:06:00AMF               ANGEL   13             5/29/2018 11:32:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/29/2018 11:12 00AM6/1/2018 1:46:00PM R       MARIA            35             5/29/2018 11:32:00AM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV Not in Cell       5/29/2018 11:12 00AM6/1/2018 1:46:00PM R       MARIA            35             5/29/2018 11:32:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R8                5/29/2018 11:12 00AM6/1/2018 1:46:00PM P       BLANCA           17             5/29/2018 11:32:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/29/2018 11:12 00AM6/1/2018 1:46:00PM R       MARIA            35             5/29/2018 11:32:00AM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV Not in Cell       5/29/2018 11:12 00AM6/1/2018 1:46:00PM P       BLANCA           17             5/29/2018 11:32:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R5                5/29/2018 11:12 00AM6/1/2018 1:46:00PM R       MARIA            35             5/29/2018 11:32:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R5                5/29/2018 11:12 00AM6/1/2018 1:46:00PM R       MARIA            35             5/29/2018 11:32:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/29/2018 11:12 00AM6/1/2018 1:46:00PM R       MARIA            35             5/29/2018 11:32:00AM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV R5                5/29/2018 11:12 00AM6/1/2018 1:46:00PM R       MARIA            35             6/1/2018 6:45:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R5                5/29/2018 11:12 00AM6/1/2018 1:46:00PM R       MARIA            35             6/1/2018 6:45:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/29/2018 11:12 00AM6/1/2018 1:46:00PM R       MARIA            35             6/1/2018 6:45:00AM    Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV B1--Common Area   5/29/2018 11:12 00AM6/1/2018 1:46:00PM R       MARIA            35             6/1/2018 6:45:00AM    Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV R8                5/29/2018 11:12 00AM6/1/2018 1:46:00PM P       BLANCA           17             6/1/2018 6:45:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/29/2018 11:12 00AM6/1/2018 1:46:00PM R       MARIA            35             6/1/2018 6:45:00AM    Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y
RGV Not in Cell       5/29/2018 11:12 00AM6/1/2018 1:46:00PM P       BLANCA           17             6/1/2018 6:45:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       5/29/2018 11:12 00AM6/1/2018 1:46:00PM R       MARIA            35             6/1/2018 6:45:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R5                5/29/2018 11:12 00AM6/1/2018 1:46:00PM R       MARIA            35             6/1/2018 7:00:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R5                5/29/2018 11:12 00AM6/1/2018 1:46:00PM R       MARIA            35             6/1/2018 7:00:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       5/29/2018 11:12 00AM6/1/2018 1:46:00PM R       MARIA            35             6/1/2018 7:00:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   5/29/2018 11:12 00AM6/1/2018 1:46:00PM R       MARIA            35             6/1/2018 7:00:00AM    Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                               VENT-Y




                                                                                                                                  22
                              Case 2:85-cv-04544-DMG-AGR Document 475-7 Filed 08/24/18 Page 159 of 165 Page ID
7/26/2018                                                       #:24560
                      SBJLOC_BOOK_IN      SBJLOC_BOOK_OUT
SITE CELL NAME              DT                   DT       CIV_NAME                        AGE EVNT_NBR   AR_REPORT_DTTM COMP AMENITIES                                           COMMENTS
RGV B1--Common Area   5/29/2018 11:12 00AM6/1/2018 1:46:00PM R        MARIA               35             6/1/2018 7:00:00AM    Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                   VENT-Y
RGV B1--Common Area   5/29/2018 11:12 00AM6/1/2018 1:46:00PM R        MARIA               35             6/1/2018 7:00:00AM    Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                   VENT-Y
RGV R8                5/29/2018 11:12 00AM6/1/2018 1:46:00PM P       BLANCA               17             6/1/2018 7:00:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       5/29/2018 11:12 00AM6/1/2018 1:46:00PM P       BLANCA               17             6/1/2018 7:00:00AM    Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B6                6/10/2018 3:47:00PM 6/11/2018 11:07:00AMM         ROCIO             33             6/10/2018 12:40:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B6                6/10/2018 3:47:00PM 6/11/2018 11:07:00AMP                NOREDITH   15             6/10/2018 12:40:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   6/10/2018 3:47:00PM 6/11/2018 11:07:00AMM         ROCIO             33             6/10/2018 12:40:00AM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                   VENT-Y
RGV R8                6/10/2018 3:47:00PM 6/11/2018 11:07:00AMP                NOREDITH   15             6/10/2018 12:40:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B6                6/10/2018 3:47:00PM 6/11/2018 11:07:00AMP                NOREDITH   15             6/10/2018 8:16:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B6                6/10/2018 3:47:00PM 6/11/2018 11:07:00AMM         ROCIO             33             6/10/2018 8:16:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   6/10/2018 3:47:00PM 6/11/2018 11:07:00AMM         ROCIO             33             6/10/2018 8:16:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                   VENT-Y
RGV R8                6/10/2018 3:47:00PM 6/11/2018 11:07:00AMP                NOREDITH   15             6/10/2018 8:16:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B6                6/10/2018 3:47:00PM 6/11/2018 11:07:00AMP                NOREDITH   15             6/11/2018 10:11:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R8                6/10/2018 3:47:00PM 6/11/2018 11:07:00AMP                NOREDITH   15             6/11/2018 10:11:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   6/10/2018 3:47:00PM 6/11/2018 11:07:00AMM         ROCIO             33             6/11/2018 10:11:00AM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                   VENT-Y
RGV B6                6/10/2018 3:47:00PM 6/11/2018 11:07:00AMM         ROCIO             33             6/11/2018 10:11:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B4                6/12/2018 11:59 00PM6/16/2018 10:44:00AMP         EYDI              36             6/12/2018 7:51:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                6/12/2018 11:59 00PM6/16/2018 10:44:00AMP         KENSY              5             6/12/2018 7:51:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                6/12/2018 11:59 00PM6/16/2018 10:44:00AMP         EYDI              36             6/12/2018 7:51:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   6/12/2018 11:59 00PM6/16/2018 10:44:00AMP         EYDI              36             6/12/2018 7:51:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                   VENT-Y
RGV B1--Common Area   6/12/2018 11:59 00PM6/16/2018 10:44:00AMP         KENSY              5             6/12/2018 7:51:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                   VENT-Y
RGV B4                6/12/2018 11:59 00PM6/16/2018 10:44:00AMP         KENSY              5             6/12/2018 7:51:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R9                6/22/2018 1:23:00AM 6/24/2018 11:06:00AML      ANDREA               11             6/22/2018 7:10:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       6/22/2018 1:23:00AM 6/24/2018 11:06:00AML      ANDREA               11             6/22/2018 7:10:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R7                6/22/2018 1:23:00AM 6/24/2018 11:06:00AML      ANDREA               11             6/22/2018 7:10:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       6/22/2018 1:23:00AM 6/24/2018 11:06:00AMP       ANA                 37             6/22/2018 7:10:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                6/22/2018 1:23:00AM 6/24/2018 11:06:00AMP       ANA                 37             6/22/2018 7:10:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   6/22/2018 1:23:00AM 6/24/2018 11:06:00AMP       ANA                 37             6/22/2018 7:10:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                   VENT-Y
RGV Not in Cell       6/22/2018 1:23:00AM 6/24/2018 11:06:00AML      ANDREA               11             6/22/2018 7:11:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                6/22/2018 1:23:00AM 6/24/2018 11:06:00AMP       ANA                 37             6/22/2018 7:11:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       6/22/2018 1:23:00AM 6/24/2018 11:06:00AMP       ANA                 37             6/22/2018 7:11:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R7                6/22/2018 1:23:00AM 6/24/2018 11:06:00AML      ANDREA               11             6/22/2018 7:11:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R9                6/22/2018 1:23:00AM 6/24/2018 11:06:00AML      ANDREA               11             6/22/2018 7:11:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   6/22/2018 1:23:00AM 6/24/2018 11:06:00AMP       ANA                 37             6/22/2018 7:11:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                   VENT-Y
RGV R9                6/22/2018 1:23:00AM 6/24/2018 11:06:00AML      ANDREA               11             6/22/2018 6:57:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                6/22/2018 1:23:00AM 6/24/2018 11:06:00AMP       ANA                 37             6/22/2018 6:57:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y




                                                                                                                                      23
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7/26/2018                                                       #:24561
                      SBJLOC_BOOK_IN      SBJLOC_BOOK_OUT
SITE CELL NAME              DT                   DT       CIV_NAME                          AGE EVNT_NBR   AR_REPORT_DTTM COMP AMENITIES                                           COMMENTS
RGV Not in Cell       6/22/2018 1:23:00AM 6/24/2018 11:06:00AML            ANDREA           11             6/22/2018 6:57:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       6/22/2018 1:23:00AM 6/24/2018 11:06:00AMP                 ANA         37             6/22/2018 6:57:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R7                6/22/2018 1:23:00AM 6/24/2018 11:06:00AML            ANDREA           11             6/22/2018 6:57:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   6/22/2018 1:23:00AM 6/24/2018 11:06:00AMP                 ANA         37             6/22/2018 6:57:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                     VENT-Y
RGV R9                6/22/2018 1:23:00AM 6/24/2018 11:06:00AML            ANDREA           11             6/23/2018 1:05:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       6/22/2018 1:23:00AM 6/24/2018 11:06:00AML            ANDREA           11             6/23/2018 1:05:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R7                6/22/2018 1:23:00AM 6/24/2018 11:06:00AML            ANDREA           11             6/23/2018 1:05:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   6/22/2018 1:23:00AM 6/24/2018 11:06:00AMP                 ANA         37             6/23/2018 1:05:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                     VENT-Y
RGV B7                6/22/2018 1:23:00AM 6/24/2018 11:06:00AMP                 ANA         37             6/23/2018 1:05:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       6/22/2018 1:23:00AM 6/24/2018 11:06:00AMP                 ANA         37             6/23/2018 1:05:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R7                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM M                  , KEYLIN   16             6/23/2018 1:05:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R1                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM C        DAISE                38             6/23/2018 1:05:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                     VENT-Y
RGV B4                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM C        DAISE                38             6/23/2018 1:05:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B4                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM M                   KEYLIN    16             6/23/2018 1:05:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R8                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM M                   KEYLIN    16             6/23/2018 1:05:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   6/23/2018 3:57:00AM 6/25/2018 4:32:00AM C        DAISE                38             6/23/2018 1:05:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                     VENT-Y
RGV B1--Common Area   6/22/2018 1:23:00AM 6/24/2018 11:06:00AMP                 ANA         37             6/23/2018 7:52:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                     VENT-Y
RGV Not in Cell       6/22/2018 1:23:00AM 6/24/2018 11:06:00AMP                 ANA         37             6/23/2018 7:52:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R7                6/22/2018 1:23:00AM 6/24/2018 11:06:00AML            ANDREA           11             6/23/2018 7:52:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R9                6/22/2018 1:23:00AM 6/24/2018 11:06:00AML            ANDREA           11             6/23/2018 7:52:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       6/22/2018 1:23:00AM 6/24/2018 11:06:00AML            ANDREA           11             6/23/2018 7:52:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                6/22/2018 1:23:00AM 6/24/2018 11:06:00AMP                 ANA         37             6/23/2018 7:52:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B4                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM M                   KEYLIN    16             6/23/2018 7:52:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B4                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM C        DAISE                38             6/23/2018 7:52:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R7                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM M                   KEYLIN    16             6/23/2018 7:52:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R8                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM M                   KEYLIN    16             6/23/2018 7:52:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   6/23/2018 3:57:00AM 6/25/2018 4:32:00AM C        DAISE                38             6/23/2018 7:52:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                     VENT-Y
RGV R1                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM C        DAISE                38             6/23/2018 7:52:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                     VENT-Y
RGV B7                6/22/2018 1:23:00AM 6/24/2018 11:06:00AMP                 ANA         37             6/24/2018 5:45:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R7                6/22/2018 1:23:00AM 6/24/2018 11:06:00AML            ANDREA           11             6/24/2018 5:45:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       6/22/2018 1:23:00AM 6/24/2018 11:06:00AMP                 ANA         37             6/24/2018 5:45:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R9                6/22/2018 1:23:00AM 6/24/2018 11:06:00AML            ANDREA           11             6/24/2018 5:45:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   6/22/2018 1:23:00AM 6/24/2018 11:06:00AMP                 ANA         37             6/24/2018 5:45:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                     VENT-Y
RGV Not in Cell       6/22/2018 1:23:00AM 6/24/2018 11:06:00AML           , ANDREA          11             6/24/2018 5:45:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   6/23/2018 3:57:00AM 6/25/2018 4:32:00AM C        DAISE                38             6/24/2018 5:45:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                     VENT-Y
RGV R1                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM CASTILLO, DAISE               38             6/24/2018 5:45:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                     VENT-Y




                                                                                                                                        24
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7/26/2018                                                       #:24562
                      SBJLOC_BOOK_IN      SBJLOC_BOOK_OUT
SITE CELL NAME              DT                   DT       CIV_NAME                       AGE EVNT_NBR   AR_REPORT_DTTM COMP AMENITIES                                          COMMENTS
RGV R8                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM M                KEYLIN    16             /24/2018 5:45:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R7                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM M                KEYLIN    16             /24/2018 5:45:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B4                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM C     DAISE                38             /24/2018 5:45:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B4                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM M                KEYLIN    16             /24/2018 5:45:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R7                6/22/2018 1:23:00AM 6/24/2018 11:06:00AML            ANDREA        11             /24/2018 3:37:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R9                6/22/2018 1:23:00AM 6/24/2018 11:06:00AML            ANDREA        11             /24/2018 3:37:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   6/22/2018 1:23:00AM 6/24/2018 11:06:00AMP             ANA          37             /24/2018 3:37:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
RGV Not in Cell       6/22/2018 1:23:00AM 6/24/2018 11:06:00AMP             ANA          37             /24/2018 3:37:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B7                6/22/2018 1:23:00AM 6/24/2018 11:06:00AMP             ANA          37             /24/2018 3:37:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       6/22/2018 1:23:00AM 6/24/2018 11:06:00AML            ANDREA        11             /24/2018 3:37:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B4                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM M               , KEYLIN   16             /24/2018 3:37:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   6/23/2018 3:57:00AM 6/25/2018 4:32:00AM C     DAISE                38             /24/2018 3:37:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
RGV R8                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM M                KEYLIN    16             /24/2018 3:37:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R7                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM M                KEYLIN    16             /24/2018 3:37:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B4                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM C     DAISE                38             /24/2018 3:37:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R1                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM C     DAISE                38             /24/2018 3:37:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
RGV R7                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM M                KEYLIN    16             /25/2018 3:03:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B4                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM C     DAISE                38             /25/2018 3:03:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   6/23/2018 3:57:00AM 6/25/2018 4:32:00AM C     DAISE                38             /25/2018 3:03:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
RGV R8                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM M                KEYLIN    16             /25/2018 3:03:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B4                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM M                KEYLIN    16             /25/2018 3:03:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R1                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM C     DAISE                38             /25/2018 3:03:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
RGV B6                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMR   DILSIA                 36             /25/2018 3:03:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B6                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMO            ASHLEY        12             /25/2018 3:03:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R7                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMO            ASHLEY        12             /25/2018 3:03:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R5                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMR   DILSIA                 36             /25/2018 3:03:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R9                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMO            ASHLEY        12             /25/2018 3:03:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B4                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM M                KEYLIN    16             /25/2018 8:12:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R8                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM M                KEYLIN    16             /25/2018 8:12:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R7                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM M                KEYLIN    16             /25/2018 8:12:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B4                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM C     DAISE                38             /25/2018 8:12:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   6/23/2018 3:57:00AM 6/25/2018 4:32:00AM C     DAISE                38             /25/2018 8:12:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
RGV R1                6/23/2018 3:57:00AM 6/25/2018 4:32:00AM C     DAISE                38             /25/2018 8:12:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                 VENT-Y
RGV R5                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMR   DILSIA                 36             /25/2018 8:12:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R7                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMO            ASHLEY        12             /25/2018 8:12:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B6                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMO            ASHLEY        12             /25/2018 8:12:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y




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                              Case 2:85-cv-04544-DMG-AGR Document 475-7 Filed 08/24/18 Page 162 of 165 Page ID
7/26/2018                                                       #:24563
                      SBJLOC_BOOK_IN     SBJLOC_BOOK_OUT
SITE CELL NAME              DT                  DT       CIV_NAME                         AGE EVNT_NBR   AR_REPORT_DTTM COMP AMENITIES                                           COMMENTS
RGV R9                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMO            ASHLEY         12             6/25/2018 8:12:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B6                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMR   DILSIA                  36             6/25/2018 8:12:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R5                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMR   DILSIA                  36             6/26/2018 11 07:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R9                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMO            ASHLEY         12             6/26/2018 11 07:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B6                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMR   DILSIA                  36             6/26/2018 11 07:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B6                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMO            ASHLEY         12             6/26/2018 11 07:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R7                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMO            ASHLEY         12             6/26/2018 11 07:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       6/26/2018 4:04:00AM 6/27/2018 10:20:00AMR                 MARCOS    12             6/26/2018 11 07:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV G3                6/26/2018 4:04:00AM 6/27/2018 10:20:00AMR                 MARCOS    12             6/26/2018 11 07:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R5                6/26/2018 4:04:00AM 6/27/2018 10:20:00AMM            BRENDA         30             6/26/2018 11 07:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV G7                6/26/2018 4:04:00AM 6/27/2018 10:20:00AMR                 MARCOS    12             6/26/2018 11 07:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       6/26/2018 4:04:00AM 6/27/2018 10:20:00AMM            BRENDA         30             6/26/2018 11 07:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       6/26/2018 10:04 00AM6/27/2018 10:20:00AMC     DAISE                 38             6/26/2018 11 07:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   6/26/2018 10:04 00AM6/27/2018 10:20:00AMC     DAISE                 38             6/26/2018 11 07:00AM Y    BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                   VENT-Y
RGV R8                6/26/2018 10:04 00AM6/27/2018 10:20:00AMM               KEYLIN      16             6/26/2018 11 07:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       6/26/2018 10:04 00AM6/27/2018 10:20:00AMM               KEYLIN      16             6/26/2018 11 07:00AM Y    CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R7                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMO            ASHLEY         12             6/27/2018 6:51:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R5                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMR   DILSIA                  36             6/27/2018 6:51:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B6                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMO            ASHLEY         12             6/27/2018 6:51:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B6                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMR   DILSIA                  36             6/27/2018 6:51:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R9                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMO            ASHLEY         12             6/27/2018 6:51:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV G7                6/26/2018 4:04:00AM 6/27/2018 10:20:00AMR                 MARCOS    12             6/27/2018 6:51:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R5                6/26/2018 4:04:00AM 6/27/2018 10:20:00AMM            BRENDA         30             6/27/2018 6:51:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       6/26/2018 4:04:00AM 6/27/2018 10:20:00AMM            BRENDA         30             6/27/2018 6:51:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV G3                6/26/2018 4:04:00AM 6/27/2018 10:20:00AMR                 MARCOS    12             6/27/2018 6:51:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       6/26/2018 4:04:00AM 6/27/2018 10:20:00AMR                 MARCOS    12             6/27/2018 6:51:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   6/26/2018 10:04 00AM6/27/2018 10:20:00AMC     DAISE                 38             6/27/2018 6:51:00AM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y
                                                                                                                                   VENT-Y
RGV Not in Cell       6/26/2018 10:04 00AM6/27/2018 10:20:00AMC     DAISE                 38             6/27/2018 6:51:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       6/26/2018 10:04 00AM6/27/2018 10:20:00AMM               KEYLIN      16             6/27/2018 6:51:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R8                6/26/2018 10:04 00AM6/27/2018 10:20:00AMM               KEYLIN      16             6/27/2018 6:51:00AM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R5                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMR   DILSIA                  36             6/27/2018 4:32:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R7                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMO            ASHLEY         12             6/27/2018 4:32:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B6                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMR   DILSIA                  36             6/27/2018 4:32:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R9                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMO            ASHLEY         12             6/27/2018 4:32:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B6                6/25/2018 8:03:00PM 6/27/2018 10:20:00AMO            ASHLEY         12             6/27/2018 4:32:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV G7                6/26/2018 4:04:00AM 6/27/2018 10:20:00AMR                , MARCOS   12             6/27/2018 4:32:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y




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                              Case 2:85-cv-04544-DMG-AGR Document 475-7 Filed 08/24/18 Page 163 of 165 Page ID
7/26/2018                                                       #:24564
                      SBJLOC_BOOK_IN     SBJLOC_BOOK_OUT
SITE CELL NAME              DT                  DT       CIV_NAME                     AGE EVNT_NBR   AR_REPORT_DTTM COMP AMENITIES                                           COMMENTS
RGV Not in Cell       6/26/2018 4:04:00AM 6/27/2018 10:20:00AMR            , MARCOS   12             6/27/2018 4:32:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       6/26/2018 4:04:00AM 6/27/2018 10:20:00AMM      BRENDA           30             6/27/2018 4:32:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R5                6/26/2018 4:04:00AM 6/27/2018 10:20:00AMM      BRENDA           30             6/27/2018 4:32:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV G3                6/26/2018 4:04:00AM 6/27/2018 10:20:00AMR             MARCOS    12             6/27/2018 4:32:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       6/26/2018 10:04 00AM6/27/2018 10:20:00AMC   DAISE               38             6/27/2018 4:32:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV Not in Cell       6/26/2018 10:04 00AM6/27/2018 10:20:00AMM           KEYLIN      16             6/27/2018 4:32:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV R8                6/26/2018 10:04 00AM6/27/2018 10:20:00AMM           KEYLIN      16             6/27/2018 4:32:00PM   Y   CLEAN-Y PEST-Y TEMP-Y VENT-Y

RGV B1--Common Area   6/26/2018 10:04 00AM6/27/2018 10:20:00AMC   DAISE               38             6/27/2018 4:32:00PM   Y   BJW-Y CLEAN-Y PEST-Y S-Y TEMP-Y TOI-Y TPS-Y




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Case 2:85-cv-04544-DMG-AGR Document 475-7 Filed 08/24/18 Page 164 of 165 Page ID
                                  #:24565
                         Case 2:85-cv-04544-DMG-AGR Document 475-7 Filed 08/24/18 Page 165 of 165 Page ID
7/26/2018                                                  #:24566
                   SBJLOC_BOOK_IN   SBJLOC_BOOK_OUT
SITE CELL NAME           DT                DT       CIV_NAME            AGE EVNT_NBR   AR_REPORT_DTTM COMP AMENITIES     COMMENTS



      Amenities: BJW-Bottled/Jug Water; NPW-Non-Potable-Water; PW-Potable-Water; S-Sink; TOI-Toilet; WF-Water Fountain
      General Amenity: CLEAN-Is Cell Clean?; PEST-Is Cell Pest Free?; TEMP-Temperature (66 - 80) degrees; VENT-Is Cell




                                                                                                              36
